              EXHIBIT A




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                                         Exhibit A
              Non-Exhaustive, Illustrative List of Works Infringed by Twitter

Title Of Work              Copyright Registration No.          Plaintiff(s)
(Rock) Superstar           PA0001009112                        Universal
(Sittin' On) The Dock Of   EU0000033492; EP0000264255;         Universal
The Bay                    EP0000335847; EP0000335846;
                           EP0000335845; CA0000785964;
                           CAU002279253; PAU002069906
0 To 100                   PA0001981715                        Universal
1 Thing                    PA0001162287; PA0001329640          Sony Music Publishing
1-800-273-8255             PA0002191589                        Hipgnosis
1, 2 Step                  PA0001263489                        Warner Chappell
1, 2, 3                    PA0002111457                        Peer
10,000 Hours               PA0002212950; PA0002223387          Big Machine; Warner
                                                               Chappell
123456                     PA0002216507; PA0002193446;         Spirit
                           PA0002189558
1999                       PAU000440507; PA0000157921          Universal
200 Copas                  PA0002333149                        Kobalt
2000 Miles                 PA0000241404                        Hipgnosis
2002                       PA0002324518                        Hipgnosis
21 Guns                    PA0001653856; PA0002332108;         Universal; Warner Chappell
                           PA0002323798
24k Magic                  PA0002048664                        Warner Chappell
25k Jacket                 PA0002343937                        Ultra
29                         PA0002372486                        Big Machine; Warner
                                                               Chappell
2step                      PA0002322457                        Universal
2u                         PA0002111183; PA0002081377          Hipgnosis; Universal
34+35                      PA0002268905; PA0002289176          Reservoir; Warner Chappell
3500                       PA0002096035                        Universal
4 Ever 4 Me                PA0002378236                        Big Machine
4 Minutes                  PA0001693511; PA0001693172          Anthem; Reservoir;
                                                               Universal; Warner Chappell
444+222                    PA0002088142; PA0002091459          Ultra; Warner Chappell
7 Rings                    PA0002187265; PA0002191175          Concord; Warner Chappell
7 Summers                  PA0002304694; PA0002265329          Sony Music Publishing;
                                                               Warner Chappell
7 Years                    PA0002037064                        Warner Chappell
A Dios Le Pido             PA0001101346                        Peer
A Million Dreams           PA0002144947                        Kobalt
A Thousand Years           PA0002281096                        Kobalt




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Title Of Work              Copyright Registration No.        Plaintiff(s)
A-O-K                      PA0002393639                      Hipgnosis; Sony Music
                                                             Publishing
Abcdefu                    PA0002311998                      Big Machine
About Damn Time            PA0002370686; PA0002371191        Sony Music Publishing;
                                                             Universal
Abranse Perras             PA0002184407                      Peer
Across 110th Street        EU0000376809                      ABKCO
Adore You                  PA0002250803; PA0002265129        Concord
Africa                     PA0000134925                      Spirit
Afternoon Delight          EU0000648070; RE0000895945        Reservoir
Agua Segura                PA0002194571                      Peer
Ahhh Ha                    PA0002355995                      Sony Music Publishing;
                                                             Warner Chappell
Ain't No Mountain High     RE0000772306; RE0000696707        Sony Music Publishing
Enough
Ain't No Sunshine          EU0000243844; EP0000376752        Universal
Ain't Your Mama            PA0002061817                      Universal
Airplane Pt2               PA0002148640                      Reservoir
Airplanes                  PA0001731016                      Universal
Alien                      PA0001917964                      Universal
Alien Superstar            PA0002375270                      Sony Music Publishing;
                                                             Warner Chappell
All Around The World       PA0001850389                      Universal
All Down The Line          EU0000326803                      ABKCO
All Eyez On Me             PA0001070609                      Universal
All I Do Is Win            PA0002072437                      Universal
All I Know                 PA0002267045                      Concord; Warner Chappell
All I Wanna Do             PA0000664140; PA0000669884        Reservoir; Warner Chappell
All I Want For Christmas   PA0000767412                      Sony Music Publishing
Is You
All Night                  PA0002258993                      Warner Chappell
All Of Me                  PA0001877163                      BMG
All Of The Lights          PA0001783122; PA0002074360        Universal; Warner Chappell
All That Matters           PA0001907231                      Universal
All The Things She Said    PA0001105056                      BMG; Universal
All Time Low               PA0002041609                      Hipgnosis
All Too Well               PA0002339277                      Warner Chappell
Already                    PA0002252209                      Kobalt
Amarillo                   PA0002259643                      Peer



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            Non-Exhaustive, Illustrative List of Works Infringed by Twitter

Title Of Work            Copyright Registration No.          Plaintiff(s)
Amazed                   PA0000965043; PA0000957326;         Reservoir; Universal
                         PAu002349242; PAu002430566
Ambitionz Az A Ridah     PA0001070592                        Universal
American Boy             PA0001599813; PA0001659161          Reservoir; Universal
American Pie             EU0000284299; EP0000295357          Universal
Amerika                  PA0001163523                        Universal
Amish Paradise           PA0000705091; PA0000809516          Universal
Anaconda                 PA0002062630                        Universal
Angel Of Death           PA0000343118                        Universal
Angelito                 PA0001343684                        Mayimba
Animals                  PA0001947800                        Concord
Another Brick In The     PA0000066084                        BMG
Wall (Part 2)
Another Night            PA0000795554                        Universal
Ante Up                  PA0001391458                        Royalty Network
Anti-Hero                PA0002390184                        Sony Music Publishing
Any Song                 PA0002258560                        Peer
Anywhere                 PA0002179035; PA0002095347;         Hipgnosis; Reservoir; Warner
                         PA0002390482                        Chappell
Are You Gonna Be My      PA0001159412                        BMG
Girl?
Are You Gonna Go My      PA0000608665                        BMG
Way?
Arms Around You          PA0002225070; PA0002176782          Kobalt; Warner Chappell
As It Was                PA0002370594                        Concord
As Long As You Love      PA0001834758; PA0001850386          Hipgnosis; Universal
Me
Astronaut In The Ocean   PA0002330126                        Warner Chappell
Attention                PA0002111436                        Kobalt
Auld Lang Syne           PA0001716013                        Royalty Network
Ayo                      PA0002063114; PA0002094632          Universal
Ayo Technology           PA0001876618; PA0001645303          Anthem; Reservoir; Universal
Babe                     PA0000062207                        Wixen
Baby                     PA0001733297; PA0001703214          Hipgnosis; Universal; Warner
                                                             Chappell
Baby                     PA0002251343                        Ultra
Baby Baby                PA0000512809                        Reservoir
Baby Boy                 PA0001131131; PA0001226000          Reservoir
Baby Got Back            PA0000594005                        Universal



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Title Of Work            Copyright Registration No.          Plaintiff(s)
Baby One More Time       PA0000922764                        Kobalt
Baby-Baby-Baby           PA0000575632                        Hipgnosis
Back To Black            PA0001167190                        Hipgnosis
Back To Sleep            PA0002061502                        Universal
Back To The Streets      PA0002270163; PA0002283444          Anthem; Concord
Back To You              PA0002151737                        BMG
Backstabber              PA0001773088                        Royalty Network
Bad And Boujee           PA0002072685; PA0002097856          Concord; Reservoir;
                                                             Universal
Bad At Love              PA0002113520                        Universal
Bad Decisions            PA0002371559                        Sony Music Publishing;
                                                             Warner Chappell
Bad Girls                PA0001796269                        Reservoir
Bad Habit                PA0002370290                        Sony Music Publishing;
                                                             Warner Chappell
Bad Liar                 PA0002081022                        Universal
Bad Man (Smooth          PA0002402705                        Kobalt; Universal
Criminal)
Bad!                     PA0002198258                        Kobalt
Baddest                  PA0002319654; PA0002328105          Concord; Reservoir
Bailamos                 PA0000970145                        Hipgnosis
Bailar                   PA0002032895                        Ultra
Baker Street             PA0000001675                        BMG
Ballin'                  PA0002233551; PA0002269894          Kobalt; Warner Chappell
Ballroom Blitz           PAU000066844                        Universal
Bam                      PA0002091677; PA0002081424          BMG; Royalty Network
Bang!                    PA0002280527                        Kobalt
Barbie Girl              PA0000890830                        Universal
Barefoot In The Park     PA0002177846                        Peer
Barracuda                EU0000789263; EU0000791168;         Universal
                         EP0000373576
Basic Thugonomics        PA0001293275                        Universal
Batshit                  PA0002130104                        Spirit
Be Alright               PA0002214731                        Kobalt
Be Honest                PA0002204025                        Peer
Be My Baby               EU0000789193; RE0000515815          Universal
Be My Baby               PA0001939320                        Universal
Be Without You           PA0001320675                        Hipgnosis
Be Yourself              PA0001161827; PA0001281046          Hipgnosis; Wixen


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           Non-Exhaustive, Illustrative List of Works Infringed by Twitter

Title Of Work            Copyright Registration No.         Plaintiff(s)
Beautiful Crazy          PA0002215919                       Big Machine
Beautiful People         PA0001752889; PA0001750727         Ultra; Universal
Beauty And A Beat        PA0001850375                       Universal
Because Of You           PA0001161120                       Reservoir
Because Of You           PA0001643835; PA0001167514         Universal
Bedrock                  PA0001835844                       Universal
Beer Never Broke My      PA0002192567                       Big Machine; Warner
Heart                                                       Chappell
Beez In The Trap         PA0002181713; PA0001912279         Reservoir; Universal
Before You Go            PA0002236373                       BMG
Beggin                   EP0000265188; RE0000721099         Sony Music Publishing
Behind Blue Eyes         EP0000294055; RE0000707770         Spirit
Bejeweled                PA0002389652                       Sony Music Publishing
Believe                  PA0000965807; PA0001188420         Hipgnosis
Believe Me               PA0001938821; PA0001907249         Royalty Network; Warner
                                                            Chappell
Believer                 PA0002076951; PA0002154294         Universal; Warner Chappell
Besame Mucho             RE0000595064; EP0000194341;        Peer
                         RE0000556117; EP0000176416;
                         RE0000536727; EP0000182130;
                         EF0000065106; R00000436261
Best Of Me               PA0002191642                       Hipgnosis
Best Song Ever           PA0001913594                       Hipgnosis
Better Days              PA0002321913                       Sony Music Publishing
Better Now               PA0002284442                       Sony Music Publishing
Beverly Hills            PAu003002545                       Wixen
Beware                   PA0001916151; PA0001916151         Universal
Bichota                  PA0002333214                       Sony Music Publishing
Big Bang Theory - Main   PA0001598335                       Universal
Title, The
Big On Big               PA0002127843; PA0002097867         Ultra; Universal
Big Poppa                PA0000843562                       Sony Music Publishing
Bills Bills Bills        PA0000956317                       Sony Music Publishing
Birthday Song            PA0001811847; PA0001833562         Reservoir; Universal; Warner
                                                            Chappell
Bittersweet Symphony     PAu002199365                       ABKCO
Black & White            PA0002183306; PA0002321682         Hipgnosis
Black Out Days           PA0001939010                       Reservoir
Black Velvet             PA0000429717; PA0000506768         Anthem



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            Non-Exhaustive, Illustrative List of Works Infringed by Twitter

Title Of Work            Copyright Registration No.          Plaintiff(s)
Blame It                 PA0001761059; PA0001670361          Royalty Network; Universal;
                                                             Warner Chappell
Blank Space              PA0001982657                        Kobalt
Bleed It Out             PA0001167572; PA0001602887          Universal
Bleeding Love            PA0001613694                        Concord
Blessings                PA0002031973                        Universal
Blinding Lights          PA0002240210                        Warner Chappell
Blitzkrieg Bop           RE0000914430; EU0000832779          Warner Chappell; Wixen
Bo$$                     PA0001908427; PA0002206118;         Hipgnosis; Warner Chappell
                         PA0001961615
Bodak Yellow             PA0002247259                        Universal
Bodies                   PA0001962427                        Reservoir
Body                     PA0002183482                        Ultra
Bola Rebola              PA0002177998                        Peer
Bombtrack                PA0000664233                        Wixen
Bon Appetit              PA0002096139; PA0002141553          Universal; Warner Chappell
Bonbon                   PA0002032890                        Ultra
Boneless                 PA0001862981                        Ultra
Boo D Up                 PA0002123747                        Peer; Universal
Boogie Wonderland        PA0000032747; PA0000032848          Kobalt; Universal
Boombastic               PA0000707107; PA0000786728          Royalty Network
Bootylicious             PA0000954074                        Sony Music Publishing
Born For This            PA0002045685                        Peer
Born To Be Wild          EU0000035989; EP0000250554          Universal
Boss Bitch               PA0002310969                        Kobalt
Both                     PA0002118637                        Warner Chappell
Bottoms Up               PA0001747296; PA0001856248          Universal; Warner Chappell
Boulevard Of Broken      PA0001251317; PA0002319800          Warner Chappell
Dreams
Bounce Back              PA0002070682                        Universal
Bound 2                  PA0001890239; PA0001890239;         Universal; Warner Chappell
                         PA0001890239; PA0001921191
Boy With Luv             PA0002200106                        Universal
Boyfriend                PA0001850387                        Kobalt; Universal
Boyfriend                PA0002233485                        Reservoir
Boys Are Back In Town,   EU0000674600; EP0000354602          Universal
The
Brass In Pocket          PA0000125821                        Hipgnosis
Break My Heart           PA0002244853                        Reservoir


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            Non-Exhaustive, Illustrative List of Works Infringed by Twitter

Title Of Work            Copyright Registration No.          Plaintiff(s)
Break My Soul            PA0002375264                        Sony Music Publishing
Break On Through To      RE0000713611; EU0000953998          Wixen
The Other Side
Break Stuff              PA0001021053                        Universal
Break Up In A Small      PA0001918568; PA0001969720;         Spirit; Universal; Warner
Town                     PA0001971276                        Chappell
Break Up With Your       PA0002197949                        Hipgnosis; Kobalt
Girlfriend, I'm Bored
Breaking The Habit       PA0001256418                        Universal
Breathe On Me            PA0001219076                        Universal
Breathin                 PA0002158420                        Hipgnosis
Breezin'                 EU0000274138                        ABKCO
Bring Me To Life         PA0001152549                        Reservoir
Broccoli                 PA0002047080                        Concord
Broken                   PA0002116133                        BMG; Warner Chappell
Broken                   PA0001144456                        Reservoir
Brown Sugar              EU0000235987                        ABKCO
Bruises                  PA0002184457                        Concord
Bubbly                   PA0002363925                        Concord; Ultra
Buddy Holly              PA0000787867                        Wixen
Bugatti                  PA0001838849                        Universal
Bulls On Parade          PA0000795396                        Wixen
Bumpy Ride               PA0001983159                        Anthem
Buss It                  PA0002334539                        Hipgnosis; Kobalt; Sony
                                                             Music Publishing; Warner
                                                             Chappell
Butter                   PA0002333493                        Reservoir; Sony Music
                                                             Publishing; Warner Chappell
Buy Dirt                 PA0002307094                        Anthem; Warner Chappell
Buy Me A Boat            PA0001985954; PA0002023061          Anthem
Buy U A Drank            PA0001601621; PA0001599414          Reservoir; Warner Chappell
C'est La Vie             PA0001990236                        Anthem
C'est La Vie             PA0002393086                        Ultra
California Dreamin'      EU0000918773; PA0000330066          Universal
California Gurls         PA0001711654; PA0001396981;         Concord; Universal; Warner
                         PA0001734423; PA0001753646          Chappell
Call Me Maybe            PA0002037836; PA0001908282          BMG
Call Me When You're      PA0001349398                        Reservoir
Sober
Call Out My Name         PA0002198282                        Hipgnosis; Kobalt


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                                       Exhibit A
            Non-Exhaustive, Illustrative List of Works Infringed by Twitter

Title Of Work            Copyright Registration No.          Plaintiff(s)
Call You Mine            PA0002285554                        Hipgnosis; Reservoir
Calling My Phone         PA0002289238                        Sony Music Publishing
Calling Occupants Of     RE0000891191; EU0000703227          Peer
Interplanetary Craft
Calma (Remix)            PA0002404966                        Warner Chappell
Can't Feel My Face       PA0001998894; PA0002083580          Kobalt; Warner Chappell
Can't Get Enough         PA0001779659; PA0001778257          Universal; Warner Chappell
Can't Stop The Feeling   PA0002030605; PA0002114951          Kobalt; Universal
Can't You Hear Me        EP0000289681                        ABKCO
Knocking
Canalla                  PAu003958520                        Mayimba
Candy Rain               PA0000787250; PA0000762318          Sony Music Publishing
Candy Shop               PA0001282566; PA0001271624          Reservoir
Car Wash                 RE0000891195; RE0000891356          Universal
Caroline                 PA0002074686                        Universal; Warner Chappell
Carry Out                PA0001780010; PA0001935810          Anthem; Universal; Warner
                                                             Chappell
Castle                   PA0002059958                        Universal
Castle Of Glass          PA0001805745                        Universal
Castle On The Hill       PA0002083352                        Hipgnosis
Catalyst, The            PA0001725628                        Universal
Catch My Breath          PA0001877971                        Reservoir
Cater 2 U                PA0001160018; PA0001281095          Royalty Network
Celebration              PA0000411606; PAU000321956          Warner Chappell
Centuries                PA0001961647; PA0001967311          Concord; Warner Chappell
Chain Hang Low           PA0002375104                        Universal
Chains                   PA0001914172                        Hipgnosis
Chanel (Go Get It)       PA0002155678                        Ultra
Change Is Gonna Come,    EU0000816632; RE0000570151;         ABKCO
A                        PAu002820854
Changes                  RE0000815279; RE0000796777;         BMG
                         RE0000852053
Changes                  PA0002142339; PA0002369648          Kobalt; Warner Chappell
Chasing Cars             PA0001990266                        Universal
Check The Rhime          PA0000822308                        Universal
Check Yes Juliet         PA0001766953                        Reservoir
Cheerleader              PA0002029573                        Ultra
Cheers (Drink To That)   PA0001732810; PA0001847896          Universal; Warner Chappell
Cherry Bomb              RE0000929039; EP0000356892          Peer


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Title Of Work            Copyright Registration No.          Plaintiff(s)
Chicken Tendies          PA0002317524                        Ultra
Chosen                   PA0002317644                        Concord
Christmas (Baby Please   EU0000800992; RE0000515818          Sony Music Publishing;
Come Home)                                                   Universal
Chronicles               PA0002345815                        Concord
Church Girl              PA0002375259                        Sony Music Publishing
Circles                  PA0002222378; PA0002216024          Warner Chappell
Circo Loco               PA0002397009                        Sony Music Publishing
City Girls               PA0002291725                        Peer; Warner Chappell
City Of Gods             PA0002352343                        Sony Music Publishing
Clarity                  PA0001856736                        Universal
Classic Man              PA0002082138; PA0002084489          Universal
Clint Eastwood           PA0001066504                        Universal
Close To Me              PA0002155983                        Hipgnosis
Closer                   PA0002064557                        Universal
Closer To The Heart      EU0000849485                        Anthem
Clouded                  PA0002238456                        Concord; Warner Chappell
Clout                    PA0002291820                        Reservoir
Coast                    PA0002372813                        Concord
Cochise                  PA0001109566                        Hipgnosis; Wixen
Cold                     PA0002077938; PA0002199503;         BMG; Kobalt; Universal
                         PA0002074131
Cold Water               PA0002055176                        Hipgnosis; Universal
Color Esperanza          PA0001120663                        Peer
Colors                   PA0002059980                        Universal
Colossal                 PA0001990192                        Universal
Come As You Are          PA0000541270                        BMG
Comfortably Numb         PA0000066097                        BMG
Coming Home              PA0001751168; PA0001751168          Universal
Company                  PA0002083590                        Universal
Confident                PA0002020803                        Kobalt
Congratulations          PA0002081028                        Universal
Consequences             PA0002163297; PA0002226073          Royalty Network; Warner
                                                             Chappell
Control                  PA0002060006                        Universal
Controlla                PA0002062984                        Universal
Crawling                 PA0001092510                        Universal
Crew                     PA0002100063                        Concord



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Title Of Work             Copyright Registration No.         Plaintiff(s)
Criminal                  PA0001749069                       Kobalt
Crossroads                PA0000822676                       Sony Music Publishing
Cruel Summer              PA0002204160                       Hipgnosis
Cruise                    PA0001803624; PA0001913754;        Anthem
                          PA0002026775
Crush                     PA0000929030; PA0000976317         Reservoir; Universal
Crushed Up                PA0002175841; PA0002166745         Ultra; Universal
Cry Me A River            PA0001133262; PA0001266147;        Reservoir; Universal; Warner
                          PA0001149534                       Chappell
Cuando Calienta El Sol    EFO000083228; RE0000447217;        Peer
                          PA0000146583
Cuando Volveras           PAu002465105                       Mayimba
Cuff It                   PA0002375268                       Sony Music Publishing
Daddy                     PA0002012322                       Universal
Dakiti                    PA0002404804                       Warner Chappell
Dance Monkey              PA0002203186                       Warner Chappell
Dancing With A Stranger   PA0002185007                       Concord
Dancing With Myself       PA0000104729                       BMG
Dancing's Not A Crime     PA0002144087                       Hipgnosis
Dang!                     PA0002390746                       Ultra; Warner Chappell
Dangerous Woman           PA0002021472; PA0002038831         Kobalt; Warner Chappell
Dangerously               PA0002103008                       Universal
Dark Days                 PA0002268304                       Hipgnosis
Dark Horse                PA0001869798; PA0001871672         Kobalt; Warner Chappell
Dark Knight Dummo         PA0002132089                       Universal
Dark Queen                PA0002091804; PA0002088251         Ultra; Warner Chappell
Darte Un Beso             PA0001882354                       Peer
Day N Nite                PA0001692981                       Universal
Day-O (Day Done Light)    EU0000411172                       Reservoir
Dead Flowers              EP0000289677                       ABKCO
Dead Friends              PA0002378238                       Big Machine
Deadz                     PA0002008332                       Universal
Dear Mama                 PAu002033035; PA0001643081;        Royalty Network; Universal;
                          PA0000773741                       Warner Chappell
Dear Maria, Count Me In   PA0001675977                       Universal
Death Bed (Coffee For     PA0002294113                       Kobalt
Your Head)
Deja Vu                   PA0002083673                       Peer
Delicate                  PA0002119796                       Kobalt


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Title Of Work             Copyright Registration No.          Plaintiff(s)
Delirious (Boneless)      PA0001926657                        Ultra
Demons                    PA0001796478; PA0001796478          Universal
Deom Di Deom Di           PA0002258408                        Peer
(Dumdi Dumdi)
Desesperados              PA0002352804                        Sony Music Publishing
Despacito (Remix)         PA0002080459; PA0002079925          Concord
Dessert                   PA0002403775                        Peer
Dessert                   PA0002182661                        Spirit; Warner Chappell
Dessert (Remix)           PA0002148478                        Spirit
Devastated                PA0002097517                        Reservoir
Diamonds                  PA0001845153                        Concord
Diamonds                  PA0002264751                        Kobalt
Die A Happy Man           PA0002176720; PA0002026572          Hipgnosis; Warner Chappell
Die For You               PA0002197999; PA0002082960;         Anthem; Warner Chappell
                          PA0002137044
Die Young                 PA0001850818; PA0001848757          Concord; Warner Chappell
Dinero                    PA0002236853                        BMG
Dior                      PA0002305817                        Warner Chappell
Disco Inferno             PA0000000853; RE0000916794;         Reservoir
                          EU0000752757; RE0000914039
Disco Inferno             PA0001298497                        Universal
Distraction               PA0002068812                        Concord; Universal
Disturbia                 PA0001692669; PA0001692669          Universal
Diva                      PA0002067668                        Hipgnosis
Dive                      PA0002083353; PA0002097455          Hipgnosis; Warner Chappell
Dj Got Us Fallin' In Love PA0001720580                        Kobalt
Do For Love               PA0001385081                        Universal
Do It To It               PA0002361857; PA0002361859          Ultra
Do It To It               PA0002361857; PA0002361859;         Ultra; Universal
                          PA0002336841
Do Or Not                 PA0002404523                        Peer
Do You Really Want To PA0002169223                            BMG
Hurt Me?
Do You Remember           PA0001706003                        Kobalt; Royalty Network;
                                                              Sony Music Publishing
Do You Remember Rock      PA0000061262                        Warner Chappell
'N' Roll Radio
Domino                    PA0002354872                        Big Machine
Don't Be Gone Too Long    PA0001943417; PA0002052039;         Concord; Universal
                          PA0002090392


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Title Of Work             Copyright Registration No.          Plaintiff(s)
Don't Call Me Up          PA0002165742                        BMG
Don't Get Me Wrong        PA0000311566                        Hipgnosis
Don't Go                  PA0002317444; PA0002319147          Concord; Peer
Don't Know Much           PAu000202126                        Wixen
Don't Let Me Down         PA0002159123                        Hipgnosis
Don't Mind                PA0002047004; PA0002048732          Universal
Don't Phunk With My       PA0001162090; PA0001163475;         Royalty Network; Universal
Heart                     PA0001287831; PA0001293230
Don't Play                PA0002295206                        Kobalt
Don't Start Now           PA0002241266; PA0002266991          BMG; Warner Chappell
Don't Tell 'Em            PA0002062936                        Spirit; Universal
Don't Wanna Know          PA0002056303                        Hipgnosis
Don't Worry Be Happy      PAu001053089                        Universal
Done For Me               PA0002139217                        Hipgnosis
Donttrustme               PA0001653773                        Concord
Dos Mil 16                PA0002360703                        Warner Chappell
Down                      PA0001707213; PA0001699626          Royalty Network
Down                      PA0002126190                        Universal
Down                      PA0002066308                        Universal
Down To One               PA0002308788                        Warner Chappell
Draco                     PA0002074846                        Universal
Drag Me Down              PA0002008247                        Hipgnosis
Dream Is Collapsing       PA0001732081                        Universal
Dream On                  RE0000844286                        BMG
Dreams                    RE0000923983; A00000885258          Kobalt
Drinkin' Beer. Talkin'    PA0002305228                        Sony Music Publishing
God. Amen.
Drip                      PA0002178620                        Royalty Network
Drip Too Hard             PA0002265277; PA0002158495          Warner Chappell
Drivers License           PA0002379403                        Sony Music Publishing
Drop It Like It's Hot     PA0001160179                        Universal; Warner Chappell
Drowning                  PA0002299527                        Reservoir
Drunk (And I Don't        PA0002294970                        Sony Music Publishing
Wanna Go Home)
Drunk In Love             PA0001986581; PA0001918132          Anthem; Warner Chappell
Dudu                      PA0001305000                        Anthem
Dusk Till Dawn            PA0002185366                        Concord
Earned It (Fifty Shades   PA0001968800                        Warner Chappell
Of Grey)


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            Non-Exhaustive, Illustrative List of Works Infringed by Twitter

Title Of Work             Copyright Registration No.         Plaintiff(s)
Easier                    PA0002262369; PA0002285553         Hipgnosis; Reservoir
Eat Me                    PA0002378249                       Big Machine
Edamame                   PA0002330894                       Ultra
Eenie Meenie              PA0001703249; PA0001729709         Concord; Sony Music
                                                             Publishing; Universal
El Tiburon                SR0000206864                       Mayimba
Elastic Heart             PA0001983966                       Kobalt
Electric Love             PA0001991514                       Concord
Electricity               PA0002182820; PA0002249477         Concord; Spirit
Element                   PA0002267341                       Concord; Warner Chappell
Elevate                   PA0002178656; PA0002229254         Royalty Network; Warner
                                                             Chappell
Ella Y Yo                 PA0001364084                       Mayimba
Empire                    PA0001923616                       Reservoir
End Of The Road           PA0000611528                       Hipgnosis
Enemies                   PA0002233908                       Universal
Enemigos Ocultos          PA0002311361                       Kobalt; Peer
Energy                    PA0002375255                       Sony Music Publishing
Es Por Ti                 PA0001101346                       Peer
Euphoria                  PA0002226390                       Universal
Everlong                  PA0000913991                       Kobalt
Every Little Step         PA0000406142                       Hipgnosis
Everybody Dies In Their   PA0002095350                       Kobalt
Nightmares
Everybody Hurts           PA0000593748                       Universal
Everybody Wants To        PA0000249270                       BMG
Rule The World
Everybody's Fool          PA0001152550                       Reservoir
Everyday                  EU0000493662; RE0000252715;        Peer
                          EP0000114122; RE0000252810
Everyday                  PA0002065676                       Universal
Everyday We Lit           PA0002262109                       Universal
(Remix)
Everything Black          PA0002183736                       Spirit
Everything I Wanted       PA0002223334                       Kobalt
Everywhere I Go           PA0001793066                       Universal
Eye Of The Tiger          PA0000148257; PAu000398752;        Concord; Warner Chappell
                          PA0000141854
Fade                      PA0002068631; PA0002192890;        BMG; Sony Music
                          PA0002179287; PA0002364422         Publishing; Universal


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Title Of Work              Copyright Registration No.          Plaintiff(s)
Fade Into You              PA0000746055                        Wixen
Faint                      PA0001256417                        Universal
Faith                      PA0002151030                        Hipgnosis
Fake Love                  PA0002065840                        Hipgnosis; Warner Chappell
Fallin' All In You         PA0002140837; PA0002208129;         Hipgnosis; Universal; Warner
                           PA0002154178                        Chappell
Falling                    PA0002280002; PA0002353089          Kobalt; Universal
False Alarm                PA0002197981; PA0002085198;         Anthem; Warner Chappell
                           PA0002053328; PA0002046600
Famous                     PA0002177935                        Royalty Network; Warner
                                                               Chappell
Famous Friends             PA0002287785                        Warner Chappell
Fancy                      PA0001939546                        Universal
Fantasia                   PA0002250725                        Peer
Father                     PA0000018999                        BMG
Father Stretch My Hands    PA0002192892; PA0002088756          Concord
Pt. 1
Feds Did A Sweep           PA0002333665                        Universal
Feed                       PA0002378197                        Big Machine
Feel It Still              PA0002140987                        Warner Chappell
Feel Like Makin' Love      EU0000433753                        Wixen
Feel The Love              PA0002157993                        Hipgnosis; Warner Chappell;
                                                               Wixen
Feeling, The               PA0002021403                        Universal; Warner Chappell
Feelings                   PA0001947809                        Kobalt; Universal
Feels                      PA0002140971; PA0002092077          Hipgnosis; Universal
Fefe                       PA0002147038                        Universal
Feliz Navidad              RE0000780437                        BMG
Fighter                    PA0001143426                        Reservoir
Figure.09                  PA0001256419                        Universal
Finally Free               PA0002236993                        Hipgnosis
Fine China                 PA0002156305                        Ultra
Fireball                   PA0001948693                        Hipgnosis
Fireflies                  PA0001692976                        Universal
Firework                   PA0001716006; PA0001724730;         Peer; Ultra; Warner Chappell
                           PA0001753920
First Class                PA0002355942; PA0002371199          Concord; Sony Music
                                                               Publishing; Universal
First Time                 PA0002080723                        Ultra



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             Non-Exhaustive, Illustrative List of Works Infringed by Twitter

Title Of Work             Copyright Registration No.          Plaintiff(s)
Five More Minutes         PA0002185453; PA0002143779;         Spirit
                          PA0002084381
Flashdance...What A       PA0000176513; PAU000505979          Warner Chappell
Feeling
Flawless (Remix)          PA0002026184                        Universal
Flicker                   PA0002088493; PA0002242439          Hipgnosis
Flirtin' With Disaster    PAu000129275                        Reservoir
Florida Kilos             PA0001923113                        Wixen
Flow HP                   PA0002320184                        Peer
Fly                       PA0001745306                        Universal
Fly Away                  PA0000900445                        BMG
Fly Over States           PA0001727375; PAu003013219;         Concord
                          PAu003142323
Follow                    PA0002220286                        Peer
Fool For You              PA0002134341; PA0002133279;         Universal
                          PA0002065629
For The Night             PA0002308963                        Sony Music Publishing;
                                                              Warner Chappell
For You                   PA0002236455; PA0002105731;         Hipgnosis; Reservoir
                          PA0002288365
For Youth                 PA0002370457                        Concord; Hipgnosis
Forever After All         PA0002267866                        Big Machine
Fotografia                PA0001101346                        Peer
Freak                     PA0002378193                        Big Machine
Freaky Deaky              PA0002378310                        Sony Music Publishing
Free Bird                 EU0000450840; EP0000340382          Universal
Free Fallin               PA0000417693                        Wixen
Freek-A-Leek              PA0001265993; PA0001677080          Reservoir; Universal
Fresh Prince Of Bel-Air   PAU001887849                        Universal
Friends                   PA0002409105                        Kobalt; Universal
Friends - Main Title      PA0000763522                        Universal
Friends Don't             PA0002122954                        Big Machine
From The Inside           PA0001256421                        Universal
Fuck Love                 PA0002095667                        Universal
Full Clip                 PA0000980227                        Royalty Network
Galway Girl               PA0002071542                        BMG
Gambler                   PA0002312877                        Peer
Gangsta                   PA0002076983                        Concord; Universal
Gangsta's Paradise        PA0000705091; PA0001221305          Universal; Warner Chappell



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             Non-Exhaustive, Illustrative List of Works Infringed by Twitter

Title Of Work             Copyright Registration No.          Plaintiff(s)
Gasoline                  PA0002060004                        Universal
Gdfr                      PA0001938177                        Universal
Genius Of Love            PA0000118398                        Universal
Gentleman                 PA0002031793                        Universal
Get Away                  PA0002404504                        Peer
Get Into It (Yuh)         PA0002324963                        Kobalt; Sony Music
                                                              Publishing
Get Low                   PA0001241884                        Reservoir
Get Lucky                 PA0001844073; PA0001901428;         Sony Music Publishing
                          PA0002307884
Get Ready                 PA0002014714                        Peer
Get Ugly                  PA0002008565                        Universal
Get Ur Freak On           PA0001146413                        Warner Chappell; Wixen
Ghetto Gospel             PA0001269944                        Universal
Ghost                     PA0002092074                        Universal
Ghost Town                PA0002163798                        Hipgnosis
Giant                     PA0002170273                        Reservoir
Gimme More (It's          PA0001632033                        Reservoir; Universal
Britney Bitch)
Gimme Shelter             EU0000154592                        ABKCO
Girl Gone Wild            PA0001801991; PA0001821393          Ultra; Warner Chappell
Girl Like Me              PA0002304268; PA0002309213          Peer; Sony Music Publishing
Girl On Fire (Inferno     PA0001989842; PA0001850499          Spirit; Warner Chappell
Version)
Girls Like You            PA0002184141                        BMG; Concord; Hipgnosis
Girls Want Girls          PA0002328061                        Concord; Sony Music
                                                              Publishing
Give It All               PA0002045709                        Peer
Give It To Me             PA0001167355; PA0001167863          Anthem; Universal
Give Me Everything        PA0001820420                        Universal
Give Me Love              PA0001902870; PA0001835344          Royalty Network
Given Up                  PA0001167570; PA0001602906          Universal
Glad You Exist            PA0002289557                        Warner Chappell
Glamorous                 PA0001370493                        Universal
Glimpse Of Us             PA0002370263                        Sony Music Publishing
Glory Box                 PA0000923602                        Universal
Glory Of Love             PA0000293891; PAU000881053;         Peer; Universal
                          PA0000298635
Gloves Are Coming Off     PA0002067324                        Peer



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Title Of Work             Copyright Registration No.          Plaintiff(s)
Go Crazy (Remix)          PA0002282807                        Sony Music Publishing
Go Loko                   PA0002246133; PA0002186724          Royalty Network; Universal
Go Off                    PA0002139041                        Universal
Go To Hell                PA0002340390                        Ultra
God Is A Woman            PA0002158419; PA0002168695          Hipgnosis; Warner Chappell
God Made Girls            PA0001924572                        Big Machine
God's Country             PA0002183591                        Warner Chappell
God's Plan                PA0002239332                        Universal
Going Bad                 PA0002175964                        Ultra
Going Under               PA0001152548                        Reservoir
Gold On The Ceiling       PA0001799048                        Wixen
Golden                    PA0002250726; PA0002265133          Concord
Gonna Make You Sweat      PA0000520228                        Warner Chappell
(Everybody Dance Now)
Good 4 U                  PA0002404776                        Warner Chappell
Good As Hell              PA0002308252                        Sony Music Publishing;
                                                              Warner Chappell
Good Boy                  PA0001938179                        Universal
Good Days                 PA0002333973                        Warner Chappell
Good Life                 PA0002139507; PA0002323406          BMG; Kobalt; Universal
Good Riddance (Time       PA0001059866; PA0002336423          Warner Chappell
Of Your Life)
Good Time                 PA0001821138                        Universal
Good Time                 PA0002203731                        Warner Chappell
Good Vibrations           EU0000964030; RE0000654512          Universal
Goodbye                   PAu001098172                        Wixen
Goodbye Stranger          PA0000032061                        Universal
Goodbyes                  PA0002220404; PA0002233501          Universal; Warner Chappell
Goodies                   PA0001241896; PA0001352650;         Reservoir; Universal; Warner
                          PA0001642058; PA0001263487          Chappell
Goosebumps                PA0002334779; PA0002083128;         Kobalt; Universal; Warner
                          PA0002078529                        Chappell
Gorilla                   PA0001850613                        Hipgnosis
Got It On Me              PA0002304136                        Kobalt; Warner Chappell
Got To Be Real            PA0000813360                        Peer
Got What I Got            PA0002285956; PA0002222006          Peer
Grande                    PA0002235623                        Peer
Gravity                   PA0002293007                        Concord
Green Light               PA0001646379; PA0001618204          Royalty Network


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Title Of Work             Copyright Registration No.          Plaintiff(s)
Grenade                   PA0002182938; PA0001733322          Concord; Warner Chappell
Grind With Me             PA0001296858; PA0001352603          Universal
Grown Woman               PA0001986576                        Kobalt
Guerrilla Radio           PA0001197435                        Wixen
Guillotine                PA0002041611                        Hipgnosis
Guwop                     PA0002082209                        Warner Chappell
Hair                      PA0002026347                        Universal
Hall Of Fame              PA0001828622                        Universal
Halo                      PA0001642019; PA0001682642          Concord
Handclap                  PA0002025789                        Hipgnosis
Hannah Montana            PA0002299530                        Reservoir
Happier                   PA0002186280                        Kobalt
Happier                   PA0002083357                        Hipgnosis
Happier Than Ever         PA0002315856                        Kobalt
Happy Ending              PA0002378266                        Big Machine
Happy Together            RE0000658136; EU0000961800;         BMG
                          EP0000231836
Hard 2 Face Reality       PA0002284636                        Universal
Hard To Say I'm Sorry     PA0000142242; PA0000150388          Peer; Universal
Hash Pipe                 PA0001046402                        Wixen
Hate Me                   PA0002241312; PA0002214418          Concord; Hipgnosis
Havana                    PA0002094728; PA0002401134;         Hipgnosis; Reservoir
                          PA0002198007; PA0002391207
Have Mercy                PA0002343472                        Sony Music Publishing;
                                                              Warner Chappell
Haven't Met You Yet       PA0001713928                        Warner Chappell
Headlines                 PA0001828499; PA0001788641          Sony Music Publishing;
                                                              Universal
Heads Will Roll           PA0001654375                        BMG
Headshot                  PA0002311737                        Sony Music Publishing
Heart Attack              PA0001850180; PA0001843813          Hipgnosis; Warner Chappell
Heart Of Glass            PA0000047164                        BMG
Heartbeat Song            PA0001953944                        Hipgnosis
Heartbreak Anniversary    PA0002303077                        Concord; Sony Music
                                                              Publishing
Heartless                 PA0002228841                        Big Machine; Universal
Heartless                 PA0001902142; PA0001652500          Universal
Heat Waves                PA0002336911                        Hipgnosis




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            Non-Exhaustive, Illustrative List of Works Infringed by Twitter

Title Of Work            Copyright Registration No.          Plaintiff(s)
Heat Waves (Diplo        PA0002340022                        Hipgnosis
Remix)
Heathens                 PA0002131497                        Warner Chappell
Heaven                   PA0002378255                        Big Machine
Heaven                   PA0002327349                        Kobalt
Heaven Must Be Missing   EU0000676024; PA0000013343          Universal
An Angel
Heaven Sent              PA0001395845                        Spirit; Universal
Helicopter               PA0002404507                        Peer
Hello                    PA0001152556                        Reservoir
Hello Good Morning       PA0001745034                        Reservoir
Hello I Love You         RE0000741292; EU0000057932          Wixen
Here                     PA0002049195                        Universal
Here Comes Santa Claus   EU0000100906; R00000590937          Warner Chappell
Here For The Party       PA0001252913                        Reservoir
Here Without You         PA0001120571                        Universal
Hero                     PA0001068098                        Hipgnosis
Heroes And Villains      EU0000002476; RE0000688203          Universal
Hey Baby (Drop It To     PA0001719812                        Ultra
The Floor)
Hey Brother              PA0001932523                        Universal
Hey Look Ma, I Made It   PA0002144486                        Hipgnosis
Hey Love                 EU0000295810                        Reservoir
Hey Mama                 PA0001960293; PA0001989993;         Kobalt; Universal; Warner
                         PA0002021769                        Chappell
Hey Sexy Lady            PA0001149548                        Royalty Network
Hey There Delilah        PA0001609385                        Warner Chappell
Hey Ya!                  PA0001222527                        BMG
High                     PA0002336969; PA0002201951          Concord
High Fashion             PA0002246245                        Kobalt
High Hopes               PA0002144483                        Hipgnosis; Warner Chappell
Higher                   PA0002187197; PA0002196829;         Peer; Warner Chappell
                         PA0002337263
Higher                   PA0000969201                        Reservoir
Highest In The Room      PA0002249578; PA0002222799          Concord; Warner Chappell
Him & I                  PA0002119248                        Universal
Hip Hop                  PA0002181477                        Royalty Network
Hips Don't Lie           PA0001367687; PAu003149121          Concord
His & Hers               PA0002334635                        Ultra


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Title Of Work            Copyright Registration No.          Plaintiff(s)
History                  PA0002008269                        Hipgnosis
Hit Different            PA0002271718                        Concord
Hold Me While You        PA0002299535                        Reservoir
Wait
Hold My Girl             PA0002146204                        BMG
Hold On                  PA0002313176                        Sony Music Publishing;
                                                             Warner Chappell
Holy                     PA0002268612; PA0002268191          Reservoir; Warner Chappell
Holy FVCK                PA0002378250                        Big Machine
Home                     PA0001682584                        BMG
Homegrown                PA0002155821                        Ultra
Honestly                 PA0002086696                        Wixen
Hookah                   PA0001913032                        Universal
Hope                     PA0002142340                        Kobalt
Hot                      PA0002224892                        Ultra
Hot Girl Bummer          PA0002209625                        Kobalt; Universal
Hot Like Fire            PA0000829508                        Warner Chappell; Wixen
Hot Shower               PA0002223950                        Ultra
Hotel Lobby (Unc And     PA0002369915                        Sony Music Publishing
Phew)
Hotline Bling            PA0002239334                        Sony Music Publishing
House Party              PA0002404526                        Peer
How Bad Do You Want      PA0002017049; PA0002006843          Kobalt; Universal
It (Oh Yeah)
How Can You Mend A       RE0000728547                        Universal
Broken Heart
How Deep Is Your Love    PA0001990313                        Reservoir
How Long                 PA0002111440                        Kobalt
How You Remind Me        PA0001103818                        Warner Chappell
Howlin' For You          PA0001698031                        Wixen
Hula Hoop                PA0001996567                        Ultra
Human                    PA0002085384; PA0002051193;         Reservoir; Warner Chappell
                         PA0002350389
Humble                   PA0002370036                        Warner Chappell
Hurricane                PA0002080689; PA0001982455          Big Machine; Warner
                                                             Chappell
Hurricane                PA0002076980                        Universal
Hush Hush                PA0001612724                        Universal
Hypnotize                PA0000785009                        Universal



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Title Of Work            Copyright Registration No.          Plaintiff(s)
I Believe I Can Fly      PA0000848248                        Universal
I Bet You Think About    PA0002329131                        Universal
Me (Taylor's Version)
(From The Vault)
I Could Fall In Love     PA0000762316                        Reservoir
I Don't Care             PA0002188778; PA0002185003          BMG; Kobalt; Universal
I Don't Mind             PA0001956327                        Universal
I Drink Wine             PA0002337651                        Sony Music Publishing
I Fall Apart             PA0002137390                        Universal
I Feel It Coming         PA0002198000                        Kobalt
I Get Around             EU0000821071; PAU002079503          Universal
I Get The Bag            PA0002181421                        Reservoir
I Got The Keys           PA0002067633; PA0002045121          Concord; Universal
I Got You Babe           RE0000614577; EP0000207669;         Wixen
                         RE0000618037; EU0000893024
I Gotta Feeling          PA0001666768; PA0001396542          BMG; Reservoir
I Guess I'm In Love      PA0002316302                        Ultra
I Have Nothing           PA0000629301; PAu001594862          Peer; Warner Chappell
I Hope                   PA0002219424                        Sony Music Publishing
I Just Wanna Shine       PA0002216521                        Spirit
I Knew You Were          PA0001845061                        Kobalt
Trouble
I Know                   PA0002032004                        Universal; Warner Chappell
I Know What You Did      PA0002026117                        Universal
Last Summer
I Know You Want Me       PA0001733983                        Spirit
(Calle Ocho)
I Like It                PA0002153433; PA0002143531          Kobalt; Warner Chappell
I Like Me Better         PA0002161192                        Kobalt
I Like To Move It        PA0001062746; PA0001394440          BMG
I Luv It                 PA0002082463                        Universal
I Made It                PA0001750212                        Royalty Network
I Miss You               PA0001243932                        Hipgnosis; Universal
I Remember               PA0001744494                        Ultra
I Say A Little Prayer    EU0000968865; RE0000640658          BMG
I Should’ve Cheated      PA0001162017                        Spirit
I Try                    PA0000986833                        Warner Chappell; Wixen
I Wanna Be Sedated       PA0000121497                        Warner Chappell; Wixen




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Title Of Work              Copyright Registration No.        Plaintiff(s)
I Wanna Dance With         PAU000901755; PA0000343550;       Universal
Somebody (Who Loves        PAU000985995
Me)
I Wanna Rock               PA0000226793                      Universal
I Want It That Way         PA0000940714                      Kobalt
I Will Survive             PAU000047934; PAU000129011;       Universal
                           PA0000041104
I Won't Back Down          PA0000417694                      Wixen
I Won't Give Up            PA0001833354                      Wixen
I'll Stand By You          PA0000717648                      Hipgnosis
I'm Ready                  RE0000122979; EU0000375535        BMG
I'm So Sorry               PA0001999953                      Universal
I'm That Girl              PA0002375271                      Sony Music Publishing
I'm The One                PA0002080162; PA0002141034        BMG; Warner Chappell
I'm Too Sexy               PA0000550414                      Spirit
I'm Your Baby Tonight      PA0000486225                      Hipgnosis
I’m Shipping Up To         PA0002392150                      Spirit
Boston
Ice                        PA0002299543                      Reservoir
Ice Cream                  PA0002268882                      Reservoir
Ice Ice Baby               PA0001048615                      Anthem
Icy Hot                    PA0002363915                      Ultra
Idol                       PA0002151331; PA0002339246        Reservoir
If Ever You're In My       PA0000221085                      Wixen
Arms Again
If I Can't Have You        PA0002215622; PA0002186712;       Hipgnosis; Universal; Warner
                           PA0002190081; PA0002199912        Chappell
If I Was A Cowboy          PA0002361866; PA0002334230        Sony Music Publishing;
                                                             Warner Chappell
If I Were A Boy            PAU003358950; PA0002067654        BMG; Universal
If It Makes You Happy      PA0000815033; PA0000810519        Anthem; Reservoir
If The World Was           PA0002283399                      Warner Chappell
Ending
If You Leave Me Now        EU0000694744                      Universal
If You Think You're        PA0000133223                      ABKCO
Lonely Now
If Your Girl Only Knew     PA0000829508; PA0000790596        Warner Chappell; Wixen
Ignition                   PA0001130236                      Universal
Iko Iko                    RE0000576944; EU0000836911        BMG
Illmerica (Extended Mix)   PA0001737218                      Ultra


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Title Of Work             Copyright Registration No.          Plaintiff(s)
Imaginary                 PA0001152554                        Reservoir
Imma Be                   PA0001682852                        Reservoir; Universal
Impossible                PA0001962800; PA0001718328          Reservoir; Warner Chappell
In Case You Didn't        PA0002015042                        Big Machine; Warner
Know                                                          Chappell
In Da Club                PA0001248729; PA0001147468          Kobalt; Universal
In Hell I'll Be In Good   PA0002236344                        Peer
Company
In My Blood               PA0002128764; PA0002140754;         Hipgnosis; Universal; Warner
                          PA0002228825                        Chappell
In My Feelings            PA0002158240; PA0002181758;         Peer; Warner Chappell
                          PA0002239617
In The End                PA0001092513                        Universal
Independent Women, Pt.    PA0001268466                        Anthem
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Industry Baby             PA0002370565                        Kobalt; Sony Music
                                                              Publishing; Universal;
                                                              Warner Chappell
Informer                     PA0000608912; PA0000781849;      Universal; Warner Chappell
                             PA0000786440; PA0000669966
Inmortal                     PAu003958520                     Mayimba
Intentions                   PA0002236318; PA0002247882       Peer
Into Your Arms               PA0002397752                     Kobalt; Warner Chappell
Invincible                   PA0002267344                     Concord; Warner Chappell
Invisible                    PA0001894977                     Hipgnosis
Iridescent                   PA0001725626                     Universal
Iris                         PA0002038200                     BMG
Ironic                       PA0000705736                     Universal
Irresistible                 PA0002149817                     Sony Music Publishing
Is There Somewhere           PA0002092070                     Universal
Is You Ready                 PA0002296061                     Reservoir
Island In The Sun            PA0001046403                     Wixen
Islands In The Stream        PA0000188026                     Universal
Isolation                    PA0000323169                     Universal
Issues                       PA0002259974; PA0002097379       Hipgnosis; Warner Chappell
It Ain't Me                  PA0002071139; PA0002406870;      Hipgnosis; Reservoir
                             PA0002071261
It Ain't Over 'Til It's Over PA0000520145                     BMG
It Wasn't Me                 PA0001054136; PA0001075288       Royalty Network; Warner
                                                              Chappell



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Title Of Work            Copyright Registration No.          Plaintiff(s)
It Will Rain             PA0001790004                        Hipgnosis
It's A Vibe              PA0002097354; PA0002082426          Reservoir; Warner Chappell
It's Givin               PA0002355988                        Warner Chappell
It's Not My Time         PA0001694337                        Universal
It's The End Of The      PA0000343481                        Universal
World As We Know It
Jane                     PAu000269243; PAu000321032          Warner Chappell; Wixen
Jaws Main Title          RE0000874834; EU0000598707          Universal
Jealous                  PA0001913489; PA0001955224          Peer
Jesus Take The Wheel     PA0001309016; PA0001339680          Reservoir; Warner Chappell
Jingle Bell Rock         EP0000113915; RE0000234391          Warner Chappell
Jingle Bells (Michael    PA0001761896                        Peer; Universal
Buble Version)
Juice                    PA0002233493; PA0002293037          Reservoir; Warner Chappell
Jump Around              PA0002015483; PA0001397762          Spirit
Jump Out The Window      PA0002070675; PA0002070654          Universal
Jumpin' Jack Flash       EU0000053487                        ABKCO
Jumpshot                 PA0002182976                        Spirit
Jungle                   PA0002165713                        Concord
Just A Lil Bit           PA0001271626                        Reservoir
Just Can't Get Enough    PA0001771849                        Hipgnosis
Just Dance               PA0001685310                        Sony Music Publishing
Just Once                PAu000260192                        Wixen
Just The Two Of Us       PA0000988790                        BMG
Just The Way You Are     PA0001713510; PA0001725672;         BMG; Universal; Warner
                         PA0001733317                        Chappell
Karma                    PA0002389641                        Sony Music Publishing
Karma Chameleon          PA0000193983                        BMG
Keke                     PA0002299433                        Reservoir
Kickstart My Heart       PA0000451325; PA0000440232          Concord; Warner Chappell
Kill, The                PA0001630065                        Universal
Killing In The Name      PA0000664233                        Wixen
Killing Me Softly        RE0000879477; RE0000819794;         Warner Chappell
                         EU0000339027
King Is Born             PA0002094373                        Concord; Hipgnosis
King Of The Clouds       PA0002144090                        Hipgnosis
Kings & Queens           PA0002285126                        Sony Music Publishing
Kiss                     PA0000284474                        Universal
Kiss It Better           PA0002084144; PA0002018107          Universal; Warner Chappell


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Title Of Work             Copyright Registration No.          Plaintiff(s)
Kiss Me More              PA0002304261                        Kobalt; Sony Music
                                                              Publishing; Warner Chappell
Kiss You                  PA0001837916                        Anthem
Knife Talk                PA0002328062                        Concord; Sony Music
                                                              Publishing
Knock You Down            PA0001670495; PA0001767248          Reservoir; Universal; Warner
                                                              Chappell
Kryptonite                PA0000999801                        Universal
Kulikitaka                PA0001108125                        Mayimba
Kung Fu Fighting          RE0000931657; RE0000931656          Royalty Network
L A Woman                 RE0000652631; EU0000244352          Wixen
L.A. Love (La La)         PA0001932653                        Universal
La Boda                   PA0001343684                        Mayimba
La Camisa Negra           PAu002900683; PA0001252263          Peer
La Carretera              PA0002022554                        Peer
La Curiosidad             PA0002268694                        Peer
La Grange                 RE0000834512; EU0000426196          BMG
La La Land                PA0001673142; PA0001644234          Sony Music Publishing
La Llorona                EU0000384549; RE0000161626          Peer
La Recaida                PA0002340874                        Peer
La Ventanita              PA0000723135                        Mayimba
Labyrinth                 PA0002389647                        Sony Music Publishing
Lady Jane                 EU0000951557                        ABKCO
Lalala                    PA0002379417                        Sony Music Publishing
Lamento Boliviano         PA0001714058                        Peer
Last Forever              PA0002281900; PA0002230533          Kobalt; Peer
Last Friday Night         PA0001711655; PA0001753637          Concord; Warner Chappell
(T.G.I.F.)
Last Night                PA0001166186                        Spirit; Universal
Last Resort               PA0000960732                        Reservoir
Late At Night             PA0002313529                        Kobalt
Later Bitches             PA0002142611                        Ultra
Laugh Now Cry Later       PA0002267036                        Sony Music Publishing;
                                                              Warner Chappell
Lavender Haze             PA0002390168                        Sony Music Publishing
Lay Up                    PA0002085232                        Universal
Lean Back                 PA0001241897                        Reservoir
Lean On                   PA0002102439; PA0001986623          BMG; Reservoir
Lean On Me                EP0000304954; EU0000319523          Universal


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              Non-Exhaustive, Illustrative List of Works Infringed by Twitter

Title Of Work               Copyright Registration No.         Plaintiff(s)
Lean Wit It Rock Wit It     PA0001163832                       Royalty Network; Sony
                                                               Music Publishing
Learning To Fly             PA0000534343                       Wixen
Leave (Get Out)             PA0001285617                       Reservoir
Leave Before You Love       PA0002301630                       Kobalt
Me
Leave Out All The Rest      PA0001167571                       Universal
Leave The Door Open         PA0002314161                       Warner Chappell
Leaving On A Jet Plane      PA0000024044; PA0000001863;        Reservoir
                            EU0000973620; RE0000704911
Lemonade                    PA0002322857; PA0002338490         BMG; Sony Music
                                                               Publishing
Let It Burn                 PA0002253600                       Hipgnosis
Let It Go                   PA0001589927                       Sony Music Publishing;
                                                               Wixen
Let It Snow! Let It Snow!   PA0000428060; RE0000462803;        Concord; Warner Chappell
Let It Snow![2002           EP0000136755; R00000542523
Remastered]
Let Me Down Slowly          PA0002177279                       Warner Chappell
Let Me Go                   PA0002110312                       Hipgnosis; Reservoir
Let Me Love You             PA0002058929; PA0002092680;        Hipgnosis; Reservoir;
                            PA0002076794                       Universal
Let Me Love You             PA0001256557                       Reservoir
Let Me Love You             PA0002065686; PA0002038833         Universal; Warner Chappell
Let's Go Crazy              PAU000613658; PA0000217248         Universal
Let's Stay Together         EU0000287623; RE0000799562         Hipgnosis
Level Of Concern            PA0002249245                       Warner Chappell
Levitating                  PA0002292827                       Warner Chappell
Levitating (Bonus Track)    PA0002304883                       Warner Chappell
Levitating [The Blessed     PA0002304881                       Warner Chappell
Madonna Remix]
Lick                        PA0002345094; PA0002343927;        Hipgnosis; Ultra; Warner
                            PA0002349259                       Chappell
Life Is Good                PA0002250830                       Concord
Life Is Worth Living        PA0002009773; PA0002083500         Peer; Universal
Lifestyle                   PA0001913020                       Kobalt; Reservoir; Universal
Lift Me Up                  PA0002397176                       Sony Music Publishing
Light It Up                 PA0002019811                       Kobalt; Sony Music
                                                               Publishing
Like A Blade Of Grass       PA0002407933                       Concord
Like A Stone                PA0001109570                       Hipgnosis; Wixen


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Title Of Work              Copyright Registration No.          Plaintiff(s)
Like I Would               PA0002134506; PA0002133288          Universal
Like You                   PA0001351918                        Reservoir
Little Bit O'soul          PA0000045537; EF0000032034;         Peer
                           RE0000613847
Little Black Dress         PA0001900056                        Hipgnosis
Little Do You Know         PA0002285551                        Reservoir
Little Saint Nick          EU0000802512; RE0000525586;         Universal
                           CA0002079492
Live While We're Young     PA0001835336; PA0001837915          Anthem
Lllego El Pavo             PAu003745317                        Mayimba
Lo/Hi                      PA0002201624                        Wixen
Loca People                PA0001744890                        Ultra
Lock It Up                 PA0002377981                        Concord; Hipgnosis
Locked Away                PA0001994385                        Universal
Locked Out Of Heaven       PA0001815801; PA0001820283          Hipgnosis; Warner Chappell
Locked Up                  PA0001159734                        Sony Music Publishing
Loco Contigo               PA0002302180                        Peer
Lollipop                   PA0001619781                        Royalty Network; Warner
                                                               Chappell
Lonely Boy                 PA0001799048                        Wixen
Long Gone                  PA0000238137                        Universal
Look At Me                 PA0002095353                        Royalty Network
Look Back At It            PA0002290766                        Reservoir
Look What You Made         PA0002087339                        Spirit
Me Do
Los Ageless                PA0002145312                        Hipgnosis
Lose Control               PA0001339450                        Wixen
Lose You To Love Me        PA0002239469                        Warner Chappell
Loser                      PA0002356712                        Concord; Warner Chappell
Losing My Religion         PA0000541342                        Universal
Lost In Japan              PA0002128746; PA0002140762;         Hipgnosis; Universal; Warner
                           PA0002166120                        Chappell
Lost In The Fire           PA0002176025                        Sony Music Publishing
Love                       PA0002387587                        Spirit
Love Again                 PA0002267018                        Warner Chappell
Love All                   PA0002369929; PA0002328103          Concord; Sony Music
                                                               Publishing; Warner Chappell
Love Galore                PA0002251845                        Universal; Warner Chappell
Love Game                  PA0001685315                        Sony Music Publishing



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Title Of Work           Copyright Registration No.          Plaintiff(s)
Love Her Madly          RE0000652630; EU0000244351          Wixen
Love Is Mystical        PA0002122132                        Hipgnosis; Wixen
Love Killa              PA0002278724                        Peer
Love On Me              PA0002178779; PA0002181954          Concord; Kobalt; Peer
Love On Top             PA0001822469; PA0001861938          Concord; Warner Chappell
Love You Like A Love    PA0001869961                        Kobalt; Universal
Song
Love You Like That      PA0002108749                        Warner Chappell
Love Yourself           PA0002083662                        Hipgnosis; Universal
Lovely Day              RE0000927825; RE0000927826;         Royalty Network; Warner
                        PA0000001455; PA0000027843;         Chappell
                        EU0000843723
Lovin' It               PA0001881407                        Universal
Low                     PA0001633047                        Universal
Low Life                PA0002033875; PA0002053118          Anthem; Warner Chappell
Loyal (West Coast       PA0001912901; PA0001963370          Universal; Warner Chappell
Version)
Lucid Dreams            PA0002206114                        Kobalt
Lucifer                 PA0001245418                        Universal
Lucky                   PA0001683393                        Hipgnosis
Lucky Strike            PA0001810804                        Universal
MY.LIFE                 PA0002315414                        BMG
M.I.L.F. $              PA0002125332; PA0002051954          Universal
Mad At Disney           PA0002317254                        Ultra
Mad Hatter              PA0002101209; PA0001982550          Universal; Warner Chappell
Mad World               PA0001252313; PA0001332743          BMG
Made For This           PA0002082345                        Peer
Mafia In The Morning    PA0002381491                        Peer
(In The Morning)
Major Tom (Coming       PA0000163488; PA0000182909          Peer
Home)
Make Believe            PA0002192578; PA0002284440          BMG; Universal
Make It Look Easy       PA0002080688                        Peer
Mal De Amores           PA0002323351                        Peer; Warner Chappell
Mama                    PA0002294997; PA0002141536          Universal
Mama Said               EU0000655257; RE0000446770          ABKCO
Mamacita                PA0002306508                        Peer
Man In The Mirror       PA0000343903; PA0000432853          Universal
Man's Not Hot           PA0002108997                        Ultra



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Title Of Work            Copyright Registration No.          Plaintiff(s)
Maneater                 PA0001164461; PA0001597058          Anthem; Reservoir
Maneater                 PA0000155536                        BMG
Many Men (Wish Death)    PA0001204558; PA0001147467          Concord
Maps                     PA0001947799                        Concord
Maria                    PA0002258552                        Peer
Maria Maria              PA0000972928                        Wixen
Maroon                   PA0002390135                        Sony Music Publishing
Marry Me                 PA0001896439                        Universal
Marvin's Room            PA0001788784; PA0001793876          Universal
Mask Off                 PA0002251307                        Concord
Mastermind               PA0002389636                        Sony Music Publishing
Matilda                  PA0002370604                        Concord
Maybach                  PA0002328109                        Concord
Me & My Girls            PA0002007637                        Hipgnosis
Me Against The Music     PA0001198360; PA0001158586;         Peer; Universal; Warner
                         PA0001219075                        Chappell
Me And My Broken         PA0001959686                        Concord
Heart
Me And My Guitar         PA0002295011                        Reservoir
Me And Your Mama         PA0002063050                        Universal
Me Myself And I          PA0001208969                        Reservoir
Me Too                   PA0002076828; PA0002068772          Sony Music Publishing;
                                                             Universal
Me, Myself & I           PA0002090076                        Reservoir; Universal
Meant To Be              PA0002105522; PA0002396176;         BMG; Spirit; Warner
                         PA0002200850; PAU003910254;         Chappell
                         PA0002105522; PA0002088824;
                         PA0002087066
Meet Me Halfway          PA0001686136; PA0001659066          Concord; Reservoir;
                                                             Universal
Memories                 PA0002210782; PA0002213923          BMG; Warner Chappell
Men In Black             PAU002192135                        Anthem
Mercy                    PA0002082652; PA0002020969          Hipgnosis; Universal
Mercy                    PA0001951733                        Royalty Network; Warner
                                                             Chappell
Metalingus               PA0001245931                        Reservoir
Mi Corazoncito           PA0001364094                        Mayimba
Mi Gente                 PA0002236423                        Universal
Mi Mayor Anhelo          PA0001711488                        Peer
Middle Child             PA0002185641                        Reservoir


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Title Of Work             Copyright Registration No.          Plaintiff(s)
Middle Of The Night       PA0002230328                        Peer
Midnight City             PA0001848087                        Wixen
Midnight Rain             PA0002389657                        Sony Music Publishing
Midnight Sky              PA0002268897                        Reservoir
Milkshake                 PA0001158349; PA0001158583          Sony Music Publishing;
                                                              Universal
Mine                      PA0002252516                        Kobalt
Mirrors                   PA0001986492; PA0001843851;         Anthem; Universal; Warner
                          PA0001915506                        Chappell
Mis Ojos Lloran Por Ti    PA0001304460                        Mayimba
Mission Impossible        RE0000662987                        Sony Music Publishing
Theme
Mississippi Queen         EU0000170621; EP0000275560;         Universal
                          EP0000170621
Mistletoe                 PA0001780233                        Universal
Mmm Yeah                  PA0001917636; PA0001917636;         Universal
                          PA0001917636
Money Longer              PA0002079884                        Ultra; Warner Chappell
Monster                   PA0002389951                        Universal; Warner Chappell
Monster Mash              EU0000737324; RE0000474679          Reservoir
Monster, The              PA0001927808                        Hipgnosis
Mood                      PA0002333609; PA0002294116          Kobalt; Universal
Mood 4 Eva                PA0002279941                        Reservoir
Mood Swings               PA0002224835                        Ultra
Moonlight                 PA0002229352                        Kobalt
Mooo!                     PA0002299509                        Reservoir
Mop                       PA0002343893                        Concord; Ultra
More Than A Woman         PAu000618255; PAu000118215          Universal
More Than This            PA0000913990                        BMG
Most Beautiful Girl In    PAU001832359; PA0000692506          Universal
The World, The
Motivation                PA0002203354                        Hipgnosis
Motive                    PA0002268906                        Reservoir
Motorsport                PA0002122925                        Reservoir
Move B***H                PA0001241913                        Reservoir
Moves Like Jagger         PA0001801572                        Concord; Universal
Mr Mom                    PA0001241516                        Wixen
Mr. Big Stuff             EU0000242623; RE0000823902;         Peer
                          EP0000289151; RE0000823903



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Title Of Work            Copyright Registration No.          Plaintiff(s)
Mr. Brightside           PA0001349355                        Universal
Mr. Roboto               PA0000166498                        Wixen
Mr. Saxobeat             PA0001736539                        Ultra
Mr. Vain                 PA0000669578                        Wixen
Mrs. Officer             PA0001787391; PA0001395717;         Royalty Network; Universal;
                         PA0001621377                        Warner Chappell
Murder On My Mind        PA0002405393                        Warner Chappell
Music For A Sushi        PA0002370608                        Concord
Restaurant
Must Be Doing            PAu002959779; PA0001304994          Sony Music Publishing
Something Right
My Boo                   PA0001159778; PA0001160731          Sony Music Publishing
My Boy                   PA0002369933; PA0002337443          Reservoir; Warner Chappell
My Head And My Heart     PA0002292159                        Kobalt; Sony Music
                                                             Publishing
My House                 PA0001996538; PA0002033081          Kobalt; Warner Chappell
My Humps                 PA0001334569                        Royalty Network
My Immortal              PA0001152551                        Reservoir
My Last Breath           PA0001152557                        Reservoir
My Love                  PA0001368886; PA0001165055          Anthem; Universal
My Name Is               PA0000941080                        BMG
My Prerogative           PA0000400857                        Universal
My Sacrifice             PA0001118316                        Reservoir
My Treasure              PA0002296142                        Peer
My Type                  PA0002192082; PA0002239937          Reservoir
My Universe              PA0002318766                        Kobalt; Sony Music
                                                             Publishing
My Way                   RE0000752920; EU0000105025          BMG
Na Na                    PA0001894277; PA0001945848          Royalty Network; Warner
                                                             Chappell
Nail Tech                PA0002369446                        Concord; Warner Chappell
Natural                  PA0002147040                        Universal; Warner Chappell
Naughty Girl             PA0001208974; PA0001375850          Reservoir; Warner Chappell
Need To Know             PA0002324956                        Kobalt
Need U Bad               PA0001932031; PA0001734091          Universal
Needed Me                PA0002083713; PA0002038184          Concord; Hipgnosis
Neon Moon                PA0000536368; PAu001818098          Kobalt
Never Be The Same        PA0002182392; PA0002222603;         Spirit; Warner Chappell
                         PA0002163288



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            Non-Exhaustive, Illustrative List of Works Infringed by Twitter

Title Of Work            Copyright Registration No.          Plaintiff(s)
Never Leave You (Uh      PA0001158431                        Spirit
Oooh, Uh Oooh)
Never Really Over        PA0002216938                        Sony Music Publishing;
                                                             Warner Chappell
Never Say Never          PA0001806271                        Anthem; Universal
Never There              PA0000947893                        Wixen
New Americana            PA0002059974                        Universal
New Divide               PA0001677173                        Universal
New Face                 PA0002142088                        Universal
New Flame                PA0002052785                        Universal
New Level                PA0002077210; PA0002068624          Universal
New Rules                PA0002080158; PA0002091839          BMG; Warner Chappell
Nice For What            PA0002230647                        Universal; Warner Chappell
Nice To Meet Ya          PA0002237043; PA0002233480          Hipgnosis; Reservoir
Nieves De Enero          EF0000028653; R00000648588          Peer
Niggas In Paris          PA0001816380; PA0001762035          Universal; Warner Chappell
Nights Like This         PA0002217940; PA0002176027          Concord; Royalty Network
Nights With You          PA0002148487                        Hipgnosis
Nightshift               PA0000243947                        Reservoir
Ninety-Six Tears (96     EU0000963169; EP0000226809          ABKCO
Tears)
No Broken Hearts         PA0002074858                        Kobalt; Universal
No Diggity               PA0000839312                        Universal
No Frauds                PA0002127933                        Hipgnosis
No Friends In The        PA0002328067                        Concord; Warner Chappell
Industry
No Guidance              PA0002239293                        Kobalt; Warner Chappell
No Idea                  PA0002326338                        Kobalt
No Judgement             PA0002246077                        Hipgnosis
No Limit                 PA0002076944; PA0002216576;         Reservoir; Universal; Warner
                         PA0002109362                        Chappell
No Love                  PA0001735858; PA0001731098          Reservoir; Warner Chappell
No Love                  PA0002349113                        Sony Music Publishing;
                                                             Warner Chappell
No Mentions              PA0002176765                        Royalty Network
No More Parties          PA0002317385                        Ultra
No Pressure              PA0002009770                        Peer
No Problem               PA0002072831                        Reservoir
No Promises              PA0002085720                        Universal



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Title Of Work              Copyright Registration No.        Plaintiff(s)
No Role Modelz             PA0002018260; PA0001975907        BMG; Universal
No Sense                   PA0002083497                      Universal
No Tears Left To Cry       PA0002168565; PA0002134933        Hipgnosis; Warner Chappell
No Vaseline                PA0001100340                      Universal
Nobody's Home              PA0001251268                      Reservoir; Universal
Non, Je Ne Regrette Rien   EF0000029988                      Reservoir
Noreste Caliente           PA0001854777                      Peer
Not Shy                    PA0002265751                      Peer
Nothing Breaks Like A      PA0002182042; PA0002161747        Concord; Hipgnosis
Heart
Now And Later              PA0002096995; PA0002216974        Hipgnosis; Warner Chappell
Now Or Never               PA0002113580; PA0002113458        Concord; Hipgnosis;
                                                             Universal
Numb                       PA0001256412                      Universal
Numb Little Bug            PA0002371441                      Sony Music Publishing
Nuthin' But A G Thang      PA0000683749                      Universal
Obsesion                   PA0001121507                      Mayimba
Ocean Eyes                 PA0002183783                      Kobalt
Officially Missing You     PA0001159436                      Reservoir
Often                      PA0001963363                      Warner Chappell
Oh Devil                   PA0002171448                      Hipgnosis
Oh My God                  PA0002337651                      Sony Music Publishing
Old Fashioned              PA0002144093                      Hipgnosis
Old Time Rock & Roll       RE0000931306; EP0000375950        Peer
Old Town Road (Remix)      PA0002334669                      Kobalt; Sony Music
                                                             Publishing; Warner Chappell
On The Floor               PA0001773478; PA0001810023        Anthem
On Top Of The World        PA0001796480; PA0001796480        Universal
One Dance                  PA0002268917                      BMG
One In A Million           PA0000829508                      Warner Chappell; Wixen
One Kiss                   PA0002150084                      BMG
One Last Breath            PA0001118315                      Reservoir
One Last Time              PA0001941577; PA0001945980        Anthem
One Man Band               PA0002182926                      Warner Chappell
One More Light             PA0002085244                      Universal
One More Night             PA0001810344                      Universal
One Night                  PA0002191513                      Concord; Universal
One Right Now              PA0002324378                      Sony Music Publishing



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Title Of Work              Copyright Registration No.        Plaintiff(s)
One Step Closer            PA0001092507; PA0001237305        Universal
One Thing                  PA0001848513                      Anthem; BMG; Sony Music
                                                             Publishing
One Way Or Another         PA0000047156                      BMG
Only Girl (In The World)   PA0001726524                      Ultra
Only Human                 PA0002203343                      Kobalt
Only The Lonely            PA0000141546                      Reservoir
Ooh Wee                    PA0001199645                      Universal
Oops (Oh My)               PA0001060434                      Warner Chappell; Wixen
Opp Stoppa                 PA0002306913                      Concord; Ultra
Opportunity                PA0002074904                      Anthem
Orange Crush               PA0000417645                      Universal
Other Side, The            PA0001850843; PA0001896442        Universal
Oui                        PA0002078413                      Warner Chappell
Out Of My League           PA0001847257                      Spirit
Outrageous                 PA0001158594                      Universal
Outside Today              PA0002176855                      Kobalt
Over                       PA0001720829; PA0001732164        Universal
Overprotected              PA0001084047                      Anthem
Pa Mis Muchachas           PA0002341306; PA0002323447        Kobalt; Peer; Warner
                                                             Chappell
Paint It Black             EU0000938855                      ABKCO
Panda                      PA0002026920                      Kobalt
Panini                     PA0002220460                      Universal
Papa Don't Preach          PAU000851488                      Reservoir
Papa Loves Mambo           EU0000367264; RE0000126716        Reservoir
Papercut                   PA0001092506                      Universal
Papi                       PA0001810026                      Anthem
Paradise                   PA0002123468                      BMG
Paradise                   PA0001766985                      Universal
Paralyzer                  PA0002299514                      Reservoir
Paranoid                   PA0002251535                      Ultra
Partition                  PA0001986583; PA0001918144        Anthem; Universal; Warner
                                                             Chappell
Party                      PA0002074473; PA0002101479        Universal; Warner Chappell
Party Monster              PA0002137022; PA0002197962;       Anthem; Warner Chappell
                           PA0002085188; PA0002051976
Party Rock Anthem          PA0001824164                      Universal
Payphone                   PA0001824573; PA0001849242        Concord; Warner Chappell


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Title Of Work               Copyright Registration No.          Plaintiff(s)
Peaches                     PA0002321908                        Sony Music Publishing;
                                                                Warner Chappell
Peanut Butter Jelly         PA0001991022                        Concord
Pegame Tu Vicio             PAu002424349; SRu000377721          Mayimba
People Are Strange          RE0000713666; EU0000009348          Wixen
Perfect                     PA0002010342                        Hipgnosis
Perm                        PA0002070323; PA0002082148          Universal; Warner Chappell
Permission To Dance         PA0002341924                        Sony Music Publishing
Peter Gunn                  RE0000309526                        Universal
Photograph                  PA0002139200                        Wixen
Pillow Talking              PA0002108582                        Universal
Play With Fire              EU0000874314; PAu001489708          ABKCO
Please Me                   PA0002185938; PA0002184689          Reservoir; Warner Chappell
Points Of Authority         PA0001092509                        Universal
Poison                      PA0002407928                        Universal
Pony                        PA0000839501; PA0000865915          Reservoir; Warner Chappell
Popstar                     PA0002265101                        Concord
Portland                    PA0002120709                        Universal
Positions                   PA0002268903                        Reservoir; Warner Chappell
Post To Be                  PA0002093464; PA0002045080          Kobalt; Universal
Pound The Alarm             PA0001822045; PA0001819007;         Anthem
                            PA0001911382
Pov                         PA0002269033; PA0002404827          Reservoir; Warner Chappell
Power                       PA0002065784                        Universal
Power                       PA0001866095                        Warner Chappell
Pray                        PA0002095079                        Anthem; Concord; Warner
                                                                Chappell
Pray For Me                 PA0002129610                        Anthem; Warner Chappell
Pretty Girls                PA0001993004                        Universal
Pretty Heart                PA0002213739                        Warner Chappell
Promiscuous                 PA0001676780; PA0001367878;         Anthem; Reservoir; Universal
                            PA0001164460
Promises                    PA0002152020                        BMG
Pump It Harder              PA0001723093                        Warner Chappell
Pure Water                  PA0002296058                        Reservoir
Purple Rain                 PAU000613664; PA0000217254          Universal
Pursuit Of Happiness        PA0002334915                        Kobalt; Wixen
Pushin P                    PA0002343935; PA0002336859          Ultra; Universal
Que Ha Pasao                PA0002218906                        Sony Music Publishing


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Title Of Work             Copyright Registration No.          Plaintiff(s)
Question…?                PA0002389646                        Sony Music Publishing
R.I.P.                    PA0002176912                        Peer
Ra Il Rag (Lilac)         PA0002300771                        Peer
Rack City                 PA0001783084                        Sony Music Publishing
Radioactive               PA0001796477; PA0001796477          Universal
Raf                       PA0002139770                        Universal
Rain On Me                PA0002283423                        Concord
Rain Over Me              PA0001780979                        Anthem
Raining Blood             PA0000343127                        Universal
Rakata Remix              PA0002323344                        Peer
Rake It Up                PA0002299073; PA0002303342;         Kobalt; Warner Chappell
                          PA0002128970
Raspberry Beret           PA0000255668; PAU000705005          Universal
Ready Or Not              PA0000809404                        Reservoir; Warner Chappell
Really Don't Care         PA0002014903; PA0001962692          Anthem; BMG
Really Really             PA0002259696                        Hipgnosis
Reborn                    PA0002157845                        Wixen
Red Lights                PA0002014531                        Anthem
Redbone                   PA0002063056; PA0002082553          Universal; Warner Chappell
Refugee                   PAU000150970; PA0000072196          Universal; Wixen
Rehab                     PA0001603566; PA0001167830;         Anthem; Universal
                          PA0001641351
Remember The Name         PA0001163444                        Universal
Reminder                  PA0002089008; PA0002137027;         Anthem; Warner Chappell
                          PA0002063075; PA0002197983;
                          PA0002082970
Renegades                 PA0001995174                        Universal
Replay                    PA0001888070; PA0001860099          Spirit; Universal
Replay                    PA0001713733                        Universal
Revofev                   PA0001729128                        Kobalt
Ribbon                    PA0002312993                        Peer
Ric Flair Drip            PA0002106881; PA0002109055          Reservoir; Ultra
Ride                      PA0001973977                        Warner Chappell
Ride It                   PA0002385444                        Royalty Network
Riders On The Storm       RE0000652633; EU0000244354          Wixen
Ridin                     PA0001317544                        Universal
Right Here Waiting        PAu001249489                        BMG
Right Now (Na Na Na)      PA0001754361                        Sony Music Publishing



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Title Of Work           Copyright Registration No.          Plaintiff(s)
Right Round             PA0001649211; PA0001396505;         Royalty Network; Warner
                        PA0001648304                        Chappell
Ring My Bell            PA0000033911; PA0000043214          Peer
Ripped Pants            PA0001015906                        Universal
Rise Up                 PA0002004533                        BMG
Ritmo                   PA0002220591                        Royalty Network
River                   PA0002052535                        Universal
Roadhouse Blues         RE0000789526; EU0000159608          Wixen
Roar                    PA0001860200; PA0001865449;         Concord; Kobalt; Warner
                        PA0001861206                        Chappell
Rock Steady             PA0000397510                        Hipgnosis
Rock This Party:        PA0001364215                        Royalty Network; Warner
Everbody Dance Now                                          Chappell
Rock Your Body          PA0001133266                        Universal; Warner Chappell
Rockabye                PA0002075620                        Reservoir
Rocket                  PA0001986585; PA0001918124          Anthem; Universal
Rockin' In The Free     PA0000449267                        Hipgnosis; Wixen
World
Rockstar                PA0002251718                        Kobalt; Warner Chappell
Rockstar                PA0002284395                        Reservoir; Universal
Rolex                   PA0002287653; PA0002109560;         BMG; Peer; Sony Music
                        PA0002081778                        Publishing; Universal
Rollin' (Air Raid       PA0001034554                        Universal
Vehicle)
Rose Tattoo             PA0002385493                        Spirit
Roses                   PA0002148464                        BMG
Ruby Soho               PA0000762716                        Wixen
Rude Boy                PA0001702220                        Peer
Ruff Ryder's Anthem     PA0000707220                        Universal
Rules                   PA0002221983                        BMG; Kobalt
Rumor                   PA0002151058; PA0002130842          Anthem
Rumors                  PA0002326119                        Hipgnosis; Sony Music
                                                            Publishing
Rumour Has It           PA0001738213                        Concord
Run                     PA0001994133                        Universal
Run It                  PA0002330491                        Ultra
Run It!                 PA0001286202                        Reservoir
Run To You              PA0000840168; PAu001594645          Peer; Universal
Runaway (U & I)         PA0001999881; PA0001987640          Kobalt; Universal



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Title Of Work             Copyright Registration No.         Plaintiff(s)
Runaway Baby              PA0001869990; PA0001742738;        Warner Chappell
                          PA0001718885
Runnin                    PA0000864253; PA0000819595         Sony Music Publishing
Sad!                      PA0002229351                       Kobalt
Safe And Sound            PA0001800817; PA0001831778         Spirit; Warner Chappell
Safety Dance, The         PA0000413304; PA0000217519;        Universal
                          PA0000444999
Salt Of The Earth, The    EU0000084522                       ABKCO
Salt Shaker               PA0001158470; PA0001347517;        Reservoir
                          PA0001345503
Sanctuary                 PA0002123431                       Ultra
Sandstorm                 PA0000981355                       Universal
Satisfied                 PA0002203202                       Hipgnosis
Savage Love (Laxed -      PA0002336784                       Kobalt
Siren Beat)
Save A Horse (Ride A      PA0001227159; PA0001236806         Reservoir
Cowboy)
Save Your Tears           PA0002282131                       Warner Chappell
Say Aah                   PA0002234217; PA0002234221;        Royalty Network; Warner
                          PA0001703163                       Chappell
Say Amen (Saturday        PA0002139165                       Hipgnosis
Night)
Say It Ain't So           PA0000787865                       Wixen
Say It Right              PA0001164463; PA0001676726         Anthem
Say So                    PA0002308467                       Kobalt; Warner Chappell
Say Something             PA0002105826; PA0002130605         Reservoir; Warner Chappell
Say You Won't Let Go      PA0002065909                       Ultra
Scared To Be Lonely       PA0002067098; PA0002204902         Hipgnosis
Scars To Your Beautiful   PA0002100489                       Universal
Scatman                   PA0000839183; PA0000852053         Universal
Season Of The Witch       EU0000956775; RE0000654984         Peer
Secret Love Song          PA0002096071                       Universal
Secrets                   PA0002137032; PA0002068859;        Anthem
                          PA0002197985
Secrets                   PA0002005875                       Reservoir
See You Again             PA0002031758                       Kobalt; Warner Chappell
Seinfeld - Theme          PA0000475198                       Universal
Selah                     PA0002223629                       Wixen
Selfish Love              PA0002293677                       Peer
Senorita                  PA0002299354; PA0002227642         Hipgnosis; Reservoir


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Title Of Work             Copyright Registration No.          Plaintiff(s)
Set Fire To The Rain      PA0001729885                        BMG
Settling Down             PA0002283773                        Sony Music Publishing
Seven Wonders             PA0000332444                        Universal
Seventeen                 PA0002182354                        Hipgnosis
Sex On Fire               PA0001615767                        BMG; Warner Chappell
Sexyback                  PA0001165048; PA0001368818          Anthem; Reservoir; Universal
Sg                        PA0002326869                        Peer
Shake It Off              PA0001982655                        Kobalt
Shape Of You              PA0002079935; PA0002158357;         BMG; Sony Music
                          PA0002086126                        Publishing; Warner Chappell
Shape Of You (Major       PA0002158310; PA0002158357          BMG; Sony Music
Lazer Remix)                                                  Publishing; Warner Chappell
Sharing Locations         PA0002343925                        Sony Music Publishing
She Had Me At Heads       PA0002355283                        Sony Music Publishing
Carolina
She Wolf                  PA0001712194; PA0001678120          Sony Music Publishing
She's A Rainbow           EU0000031919                        ABKCO
She's Kerosene            PA0002150565                        Wixen
Shivers                   PA0002370554                        Sony Music Publishing
Shook Ones Pt. I          PA0000845840                        Universal
Shoop                     PA0000709269                        Spirit; Warner Chappell
Shoota                    PA0002172042                        Warner Chappell
Short Skirt/Long Jacket   PA0001244364                        Wixen
Shout                     PA0000243344                        BMG
Show Me How To Live       PA0001109567                        Hipgnosis; Wixen
Shower                    PA0001974672; PA0001913494          Kobalt; Universal
Sicko Mode (Explicit)     PA0002253353; PA0002235722          Concord; Warner Chappell
Sign Of The Times         PA0002085488                        Concord
Silver Springs            RE0000905601; EU0000713078          Wixen
Single Ladies (Put A      PA0001672219; PA0001630370          Peer; Warner Chappell
Ring On It)
Sinister                  PA0002345489                        Concord
Sit Still, Look Pretty    PA0002070970                        Reservoir
Ski                       PA0002336399                        Sony Music Publishing;
                                                              Warner Chappell
Skin Of My Teeth          PA0002357664                        Big Machine
Sleeping Satellite        PA0000643372                        Wixen
Sleigh Ride               PA0000239719                        Sony Music Publishing
Slide                     PA0002077758                        Universal


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Title Of Work             Copyright Registration No.         Plaintiff(s)
Slippery                  PA0002073628; PA0002083325         Reservoir; Universal
Slow Dancing In The       PA0002162029                       Kobalt
Dark
Smells Like Teen Spirit   PA0000541273                       BMG
Smooth                    PA0000990223                       Hipgnosis
Smooth Operator           PA0000289882; PA0000281877         Peer
Snap                      PA0002382144                       Ultra
Snap Yo Fingers           PA0001339272; PA0001397111         Reservoir
Snow On The Beach         PA0002389709                       Sony Music Publishing
So Gone: You Are          PA0001239742                       Wixen
Number One
So Hot You're Hurting     PA0002223182                       Hipgnosis; Sony Music
My Feelings                                                  Publishing
Soak Up The Sun           PA0001087054; PA0001079190         Anthem
Solid                     PA0002336392                       Concord
Solo                      PA0002408248                       Peer
Solo                      PA0002177702                       Universal
Some Nights               PA0002288360                       Hipgnosis
Somebody Else             PA0002015511                       Concord
Somebody That I Used      PA0001785517; PA0001839609         Kobalt; Warner Chappell
To Know
Somebody To You           PA0001945746                       Anthem
Somebody's Watching       PA0000195693                       Sony Music Publishing
Me
Someone Like You          PA0001734868                       BMG
Someone To You            PA0002334194; PA0002335483         Hipgnosis; Kobalt
Someone You Loved         PA0002159569                       BMG
Sometimes                 PA0000932239                       Universal
Sometimes When We         PA0000001452; EU0000837287;        Anthem
Touch                     EU0000839632; RE0000909780
Somewhere I Belong        PA0001256410                       Universal
Somewhere Only We         PA0001160739                       Universal
Know
Sorry                     PA0002011130; PA0002083542;        Kobalt; Universal; Warner
                          PA0002115569                       Chappell
Sorry For Party Rocking   PA0001824163                       Universal
Sorry Not Sorry           PA0002099343                       Reservoir
Soy De Rancho             PA0002176463                       Peer
Soy Yo                    PA0002250737                       Hipgnosis
Space Cadet               PA0002192840                       Ultra


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Title Of Work             Copyright Registration No.         Plaintiff(s)
Speechless                PA0002187214; PA0002163733         Big Machine; Warner
                                                             Chappell
Spongebob Squarepants     PA0001015908                       Universal
Theme
Spooky Scary Skeletons    PA0000801254                       Kobalt
St. Elmo's Fire (Man In   PA0000267138                       Peer
Motion)
Stand By You            PA0002259690                         Hipgnosis
Starboy                 PA0002197960; PA0002082942;          Anthem
                        PA0002045288
Starships               PA0001819003; PA0001807221;          Anthem; BMG
                        PA0001840406
Started From The Bottom PA0001893532                         Universal
Stay                    PA0002316799; PA0002345926;          Concord; Sony Music
                        PA0002370561                         Publishing; Universal;
                                                             Warner Chappell
Stay Fly                  PA0001162533; PA0001328092         Royalty Network; Universal
Staying Alive             PA0002381354                       Sony Music Publishing
Steal My Girl             PA0001986766                       Hipgnosis
Step Off                  PA0001843675; PA0001853126         Universal; Warner Chappell
Stereo Hearts             PA0001806415; PA0001779603         Concord; Universal
Stereo Love               PA0001745627                       Ultra
Still D.R.E.              PA0001012565                       Reservoir
Still The One             PA0001846830; PA0001835311         Anthem; BMG
Stir Fry                  PA0002122824                       Reservoir
Stitches                  PA0001993016                       Hipgnosis
Stop Draggin' My Heart    PA0000133701                       Wixen
Around
Stop This Flame           PA0002331915                       Reservoir; Warner Chappell
Story Of My Life          PA0001913596                       Hipgnosis
Straight Up               PA0001039247                       Royalty Network
Street Fighting Man       EU0000070720                       ABKCO
Stressed Out              PA0001973974                       Warner Chappell
Strip That Down           PA0002085169; PA0002134020         Warner Chappell
Strong Enough             PA0000965810                       Hipgnosis
Stronger (What Doesn't    PA0002285493                       Reservoir
Kill You)
Stuck In The Middle       EP0000310189; RE0000834965         BMG
Substance                 PA0002365908                       Big Machine
Sucker For Pain           PA0002076970; PA0002078398         Universal; Warner Chappell


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Title Of Work            Copyright Registration No.         Plaintiff(s)
Suffocate                PA0001651190                       Peer
Suga Suga                PA0001281057                       Universal
Sugar                    PA0001947805                       Kobalt
Sugar (Radio Edit)       PA0001744939                       Universal
Suit And Tie             PA0001843846; PA0001939563         Anthem; Warner Chappell
Summer Love              PA0001165046; PA0001368885         Anthem; Universal
Summer Of '69            PA0000238134                       Universal
Sunflower                PA0002168127; PA0002166137         Universal; Warner Chappell
Sunflower                PA0002168127                       Kobalt; Universal
Sunglasses At Night      PAu000539648                       Peer; Warner Chappell
Sunroof (Remix)          PA0002379295                       Warner Chappell
Super Bass               PA0001852528; PA0001733269         Peer
Super Freak              PA0000120116                       Sony Music Publishing
Supermarket Flowers      PA0002148361                       Hipgnosis
Supernova                PA0002107320                       Anthem
Swallah                  PA0002081025                       Universal
Sway (Quien Sera)        RE0000538090; RE0000587744;        Peer
                         RE0000481483; RE0000587738;
                         RE0000587887; RE0000127658
Sweet But Psycho         PA0002197699; PA0002236072         Kobalt; Warner Chappell
Sweet Caroline           EP0000277256; EU0000121797         Universal
Sweet Emotion            EU0000569371; EP0000380207;        BMG
                         RE0000887602
Sweet Home Alabama       EU0000511375; EP0000333360         Universal
Sweet Lady               PAu003517571; PA0000930525         Concord; Hipgnosis
Sweet Soul Music         PAu002086143; EU0000999175;        ABKCO; Universal
                         RE0006888174
Sweetest Pie             PA0002352636                       Concord; Warner Chappell
Sweetie Little Jean      PA0002000796                       Wixen
Swervin                  PA0002299437                       Reservoir
Sympathy For The Devil   EU0000075421                       ABKCO
Symphony                 PA0002110317                       Reservoir
T Shirt                  PA0002073629; PA0002083293         Reservoir; Universal
Tacata                   PA0001800551                       Ultra
Taco Tuesday             PA0002250148                       Reservoir
Tag, You're It           PA0001982547                       Hipgnosis
Take Me Home, Country    EU0000238954; RE0000653070         Reservoir
Roads
Take My Name             PA0002367261                       Sony Music Publishing


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Title Of Work             Copyright Registration No.         Plaintiff(s)
Take The Long Way         PA0000032064                       Universal
Home
Take The World (Let's     PA0002014715                       Peer
Go)
Taki Taki                 PA0002298057; PA0002158343;        Kobalt; Peer; Warner
                          PA0002188905                       Chappell
Taking Over Me            PA0001152555                       Reservoir
Talk Dirty                PA0001894274; PA0001896440;        Kobalt; Universal; Warner
                          PA0001924145                       Chappell
Tamed-Dashed              PA0002293677                       Universal
Tap In                    PA0002268902; PA0002336869         Reservoir; Universal
Tarot                     PA0002360414                       Hipgnosis; Sony Music
                                                             Publishing
Taste                     PA0002162961; PA0002307949         Reservoir; Warner Chappell
Tattooed Heart            PA0001881406                       Universal
Te Bote (Remix)           PA0002377174                       Kobalt
Te Felicito               PA0002377103                       Sony Music Publishing
Te Robare                 PA0001882342; PA0001868138         Royalty Network
Teardrops On My Guitar    PA0001381162                       Anthem
Teeth                     PA0002262365; PA0002277029;        Hipgnosis; Reservoir
                          PA0002309107
Telepatia                 PA0002303120; PA0002291776         Concord; Sony Music
                                                             Publishing; Hipgnosis
Telephone                 PA0001751977                       Hipgnosis
Tell Em                   PA0002332185                       Ultra
Tell It To My Heart       PA0002340532                       Ultra
Tempo                     PA0002192075; PA0002213231         Hipgnosis; Wixen
Testify                   PA0001197435                       Wixen
Thank God I'm A           EU0000469657; RE0000861042         Reservoir
Country Boy
Thank U, Next             PA0002159484; PA0002154953         BMG; Warner Chappell
That's Life               EU0000833467; EP0000224967;        Universal
                          EP0000233923; PA0000317214
That's What I Like        PA0002070329; PA0002082150         Universal; Warner Chappell
Thats What I Want         PA0002370585                       Sony Music Publishing;
                                                             Universal
The Best                  PA0000458008                       BMG
The Best Is Yet To Come   EP0000150284; RE0000330549;        Hipgnosis
                          RE0000438391; RE0000435017
The Bones                 PA0002195429; PA0002176239         Big Machine; Warner
                                                             Chappell


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Title Of Work             Copyright Registration No.          Plaintiff(s)
The Box                   PA0002246267; PA0002307885          Kobalt; Peer; Warner
                                                              Chappell
The Christmas Song        EP0000009190; R00000581558          Sony Music Publishing
The Devil Is A Lie        PA0001975075; PA0002268948;         Kobalt; Ultra
                          PA0001397772; PA0001910435
The End                   RE0000713615; EU0000973904          Wixen
The First Time Ever I     EP0000167924; RE0000463666          Royalty Network
Saw Your Face
The Ghetto                EP0000265446; RE0000752189;         Peer
                          EP0000265446; RE0000750527
The Good Ones             PA0002301883                        Sony Music Publishing
The Great Pretender       EP0000095703; RE0000166522;         Peer
                          EU0000418133; RE0000166531
The Hills                 PA0002018988; PA0001398369          Kobalt; Warner Chappell
The London                PA0002233498; PA0002221824;         Kobalt; Reservoir; Sony
                          PA0002212043                        Music Publishing; Warner
                                                              Chappell
The Middle                PA0002123185                        BMG
The Morning               PA0001866359                        Kobalt
The Next Episode          PA0001042871; PA0000987700          Sony Music Publishing;
                                                              Universal
The Only Way Is Up        PAU000407785                        Peer
The Passenger             EU0000828781; RE0000912857          BMG
The Pink Panther          RE0000531574                        Sony Music Publishing
The Power Of Love         PA0000280867                        Warner Chappell
The Remedy For A          PA0002142317                        Kobalt
Broken Heart
The Silence               PA0002345361                        Hipgnosis
The Spirit Of Radio       PA0000066535                        Anthem
The Walker                PA0001847257                        Spirit
The Way I Are             PA0001761677                        Anthem; Reservoir
The Zone                  PA0001848069                        Anthem
There's Nothing Holdin'   PA0002131804; PA0002082169          Hipgnosis; Warner Chappell
Me Back
These Days                PA0002123465; PA0002139203          BMG; Hipgnosis
They Don't Know           PA0002129572; PA0002114957          Kobalt; Universal
They Don't Know About     PA0001846812                        Anthem
Us
This Is Me                PA0002115060; PA0002144962          Kobalt
This Is What It Feels     PA0001841659                        Ultra
Like


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Title Of Work             Copyright Registration No.         Plaintiff(s)
This Is Why I'm Hot       PA0001334015                       Universal
Thot Shit                 PA0002310966                       Concord; Sony Music
                                                             Publishing
Thousand Miles, A         PA0001102367                       Universal
Throw A Lil Mo (Do It)    PA0002388052                       Warner Chappell
Throw It Away             PA0002323362; PA0002328206         Concord; Warner Chappell
Throw Sum Mo              PA0001986485                       Universal
Thru Your Phone           PA0002142773                       Hipgnosis
Thugz Mansion             PA0001115087                       Universal
Thunder                   PA0002113702                       Universal
Tie A Yellow Ribbon       EP0000314717; RE0000841025;        Peer
'Round The Ole Oak Tree   EP0000314716; RE0000841024;
                          EU0000347522; RE0000828700
Tijuana Taxi              EU0000924611; RE0000654191         Universal
Tik Tok                   PA0001688442                       Concord
Time                      PA0001732104                       Universal
Time After Time           PA0000238686; PA0000299757         Warner Chappell
Time Bomb                 PA0000762716                       Wixen
Time Warp                 RE0000870957; EU0000472814         Wixen
Tints                     PA0002161191; PA0002291304         Universal; Warner Chappell
Tip Toe                   PA0002246435; PA0002246293         BMG; Kobalt
Titanium                  PA0001803232                       Kobalt
To Easy                   PA0002340709                       Ultra
To Love You More          PA0000810429; PA0000785033         Peer; Warner Chappell
Todavia Me Amas           PA0001121507                       Mayimba
Today                     PA0002345899                       Concord
Todo De Ti                PA0002328323                       Concord
Tokyo Drift (Fast And     PA0001167096; PA0001634783         Sony Music Publishing;
Furious)                                                     Universal
Tokyo Drifting            PA0002286555                       Concord; Hipgnosis
Tom Sawyer                PA0000100466                       Anthem
Too Late To Say           PA0002000797                       Wixen
Goodbye
Too Much Sauce            PA0002400946                       Universal
Too Young                 PA0002163355                       Anthem
Torn                      PA0002284737                       Hipgnosis
Tornado Warnings          PA0002370282                       Concord; Warner Chappell
Touch                     PA0002111380                       Hipgnosis; Kobalt
Touch Me                  RE0000741295; EU0000097574         Wixen


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Title Of Work             Copyright Registration No.         Plaintiff(s)
Touch My Body             PA0001608150; PA0001769539         Peer; Warner Chappell
Touch The Hem Of His      EU0000442052; RE0000200371         ABKCO
Garment
Towards The Sun           PA0001986643                       Universal
Toxic                     PA0001158179                       BMG
Tragedy                   PAu000054975; PAu000618225         Universal
Train Wreck               PA0002375726                       Concord
Trampoline                PA0002198921                       Ultra
Treasure                  PA0001852256; PA0001397644;        Hipgnosis; Warner Chappell
                          PA0001869830
Treat Me                  PA0002370260; PA0002407921         Sony Music Publishing;
                                                             Warner Chappell
Treat You Better          PA0002082557; PA0002020970         Hipgnosis; Universal
Trip                      PA0002179912; PA0002162412         Concord; Peer
Trouble                   PA0002000798                       Wixen
True Love                 PA0001817461                       Universal
Trumpets                  PA0001899754; PA0001896437         Hipgnosis; Universal
Trust                     PA0001395817                       Royalty Network; Universal
Truth Hurts               PA0002238857                       Hipgnosis; Warner Chappell
Try                       PA0001724068                       BMG
Tsu                       PA0002320190                       Anthem
Tsunami                   PA0002383146                       Concord; Kobalt
Tu Y Yo                   PA0002246124                       Peer
Tuesday (Club Goin Up)    PA0001951061                       Universal
Turn On The Lights        PA0001856326; PA0001852654         Universal; Warner Chappell
Turning Tables            PA0001738213                       Concord
Tusa                      PA0002333152                       Kobalt; Universal
Twistin' The Night Away   EU0000701315; RE0000475433         ABKCO
Twit                      PA0002205231                       Peer
Two Ghosts                PA0002079418; PA0002211804;        Concord; Hipgnosis
                          PA0002085492
Tyler Herro               PA0002324452                       Sony Music Publishing
U + Ur Hand               PA0001614888                       Anthem
U Can't Touch This        PA0000519667                       BMG
U Got The Look            PA0000336613                       Universal
Umbrella                  PA0001355560; PA0001602373         Peer; Warner Chappell
Umpah Umpah               PA0002202934                       Peer
Un Beso                   PA0001343684                       Mayimba
Underneath The Tree       PA0001895079                       Sony Music Publishing


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            Non-Exhaustive, Illustrative List of Works Infringed by Twitter

Title Of Work            Copyright Registration No.          Plaintiff(s)
Undone                   PA0000787866                        Wixen
Unforgettable            PA0002084510; PA0002185392;         Anthem; Concord; Warner
                         PA0002123211; PA0002274600;         Chappell
                         PA0002099601
Uninvited                PA0000921947                        Universal
Unstoppable              PA0002134877                        Concord
Unstoppable Now          PA0002143105                        Peer
Up                       PA0002394634; PA0002404777          Peer; Sony Music Publishing
Uptown Funk              PA0001935371; PA0001938200;         BMG; Concord; Warner
                         PA0001974777                        Chappell
Use Somebody             PA0002186614                        BMG; Warner Chappell
Used To This             PA0002074844                        Universal
Versace                  PA0001859908; PA0002167663          Ultra; Universal
Versace On The Floor     PA0002070322                        Universal
Vette Motors             PA0002393958                        Concord; Warner Chappell
Victorious               PA0002165080                        Hipgnosis
Victorious               PA0002087649                        Wixen
Visiting Hours           PA0002341259                        Sony Music Publishing;
                                                             Warner Chappell
Volverte A Ver           PAU002900684; PA0001252263          Peer
Wait For U               PA0002353097; PA0002384278          Concord; Sony Music
                                                             Publishing
Waiting For The End      PA0001725611                        Universal
Wake Me Up               PA0001932520; PA0001899727          Universal
Wake Up                  PA0000664233                        Wixen
Walk It Out              PA0002057728                        Ultra
Walk It Talk It          PA0002145369; PA0002181710          Concord; Reservoir
Walk Like An Egyptian    PA0000278841                        Peer
Walk Me Home             PA0002184702                        Warner Chappell
Walk This Way            RE0000886653                        BMG
Walking On A Dream       PA0002081713                        Universal
Walking On Sunshine      PA0000244407                        BMG
Walls Could Talk         PA0002113518                        Universal
Wannabe                  PA0000823685                        Concord; Universal
Want To Want Me          PA0002045068; PA0001977649          Hipgnosis; Warner Chappell
Wap                      PA0002263376                        Sony Music Publishing
Wasabi                   PA0002177012; PA0002217555          Hipgnosis
Wasted                   PA0002372489                        Big Machine; Warner
                                                             Chappell


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Title Of Work             Copyright Registration No.         Plaintiff(s)
Wasted                    PA0002159907                       Concord
Wasting Time              PA0002328110                       Concord
Watch Me                  PA0002014703                       Peer
Watching You              PA0002299477; PA0001323481         Reservoir
Waterfalls                PA0000797831                       Royalty Network
Watermelon Sugar          PA0002250681; PA0002265071         Concord
Waves                     PA0002192893; PA0002088716         Universal
Way 2 Sexy                PA0002327515                       Warner Chappell
Way You Look Tonight,     EU0000120513; R00000312541         Reservoir
The
Way, The                  PA0001881410                       Universal
We Are Bulletproof: The   PA0002243115                       Concord
Eternal
We Are Never Ever         PA0001845061                       Kobalt
Getting Back Together
We Are Young              PA0001811978                       Hipgnosis
We Belong Together        PA0001162027; PA0001163150         ABKCO; Hipgnosis;
                                                             Universal
We Built This City        PA0000265529; PA0000264311         Concord; Universal
We Dem Boyz               PA0001937716                       Universal; Warner Chappell
We Don't Talk Anymore     PA0002070292                       Kobalt
We Paid                   PA0002404825                       Warner Chappell
We Right Here             PA0001113503                       Royalty Network
We Run This               PA0001339443                       Wixen
We're Not Gonna Take It   PA0000226789                       Universal
Weak                      PA0002163647                       Kobalt
Wesley's Theory           PA0001961401; PA0002116733         Wixen
West Coast                PA0002284052                       Ultra
What A Wonderful          RE0000704744; PA0001334360         BMG; Concord
World
What About Us             PA0002129347                       Sony Music Publishing
What Do You Mean          PA0001996404; PA0002083524         Kobalt; Universal
What Goes Around          PA0001165051; PA0001368884         Anthem; Reservoir; Universal
What I've Done            PA0001167574; PA0001602911;        Universal
                          PA0001708260
What Makes You            PA0001790417                       BMG
Beautiful
What Was I Thinkin'       PA0001245475                       Reservoir
What You Know Bout        PA0002305086; PA0002293011         Concord; Sony Music
Love                                                         Publishing; Warner Chappell


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Title Of Work            Copyright Registration No.          Plaintiff(s)
What's Love Got To Do    PA0000215326                        Warner Chappell
With It
What's Luv               PA0001058257                        Sony Music Publishing
What's My Name           PA0001741634                        Peer
What's Your Country      PA0002301769; PA0002294740          Sony Music Publishing;
Song                                                         Warner Chappell
Whatcha Say              PA0001712977                        Universal
Whatchulookinat          PA0001209745                        Royalty Network
Whatever Will Be, Will   RE0000163500; RE0000162175;         Wixen
Be (Que Sera, Sera)      EU0000406981
Whats Poppin             PA0002238416                        Sony Music Publishing;
                                                             Warner Chappell
Whats Poppin (Remix)     PA0002375367; PA0002405018          Universal; Warner Chappell
Whatta Man               PA0000870911; PA0000687544          Spirit; Warner Chappell
When Doves Cry           PAU000609914; PA0000220373          Universal
When I Grow Up           PA0001640788                        Hipgnosis
When I Was Your Man      PA0001834773; PA0002186926;         Concord; Hipgnosis; Warner
                         PA0001869828                        Chappell
When The Party's Over    PA0002198031                        Kobalt
Where Are U Now          PA0002083643                        Universal
Where Have You Been      PA0001785178                        Universal
Where Is My Mind?        PA0000608974                        Universal
Where Is The Love        PA0001249866; PA0001220894;         Reservoir; Universal
                         PA0001158849
Where Ya At              PA0001990184                        Universal
Whiskey Lullaby          PA0001196498; PA0001196097          Reservoir
Whisper                  PA0001152558                        Reservoir
White Flag               PA0002135804                        Reservoir; Warner Chappell
White Horse              PA0001963668; PA0001673006          Anthem
White Wedding - Part 1   PA0000159638                        BMG
&2
Who Do You Love?         PA0002194749                        Peer
Who We Be                PA0001113498                        Royalty Network
Who's In Your Head       PA0002317019                        Sony Music Publishing;
                                                             Warner Chappell
Whoa                     PA0001039276; PA0000980446          Royalty Network; Universal
Whole Lotta Money        PA0002309813; PA0002391164;         Kobalt; Universal
[Remix]                  PA0002324999
Whoopty                  PA0002333167                        Warner Chappell
Wicked Game              PA0000450434                        Warner Chappell



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Title Of Work            Copyright Registration No.         Plaintiff(s)
Wicked Games             PA0001848074                       Anthem
Wiggle                   PA0002045070; PA0001949620         Hipgnosis; Universal
Wild Side                PA0002328977; PA0002310943         ABKCO; Concord; Sony
                                                            Music Publishing
Wild Things              PA0002100484                       Universal
Willow                   PA0002275070                       Sony Music Publishing
Wind Of Change           PA0000527906                       BMG
Winter Wonderland        E00000044664; R00000284735         Warner Chappell
Witchcraft               EU0000475456; RE0000229496         Hipgnosis
With Arms Wide Open      PA0000969200                       Reservoir
With You                 PA0001659014                       Hipgnosis
Without Me               PA0002193586; PA0002181449;        Kobalt; Reservoir; Warner
                         PA0002185008                       Chappell
Wockesha                 PA0002342062                       Sony Music Publishing
Wolves                   PA0002010009                       Hipgnosis
Wolves                   PA0002093771; PA0002095349;        Hipgnosis; Reservoir
                         PA0002383848
Womanizer                PA0001888788                       Universal
Womp Womp                PA0002240822                       Spirit
Wonderful                PA0001160329; PA0001282190;        Royalty Network; Universal
                         PA0001163431
Wonderful Life           PA0000350396                       BMG
Wonderful World, (What   EU0000567694; RE0000361641         ABKCO
A)
Woo-Hoo                  EU0000592188; RE0000340982;        Reservoir
                         EP0000134140; RE0000340994
Word Up                  PA0000321203; PA0000315521;        Universal
                         PAU000890600
Work                     PA0001939548                       Universal
Work                     PA0002103251; PA0002018068         Universal; Warner Chappell
Work                     PA0000901026                       Royalty Network
Work Bitch               PA0001917953                       Universal
Work From Home           PA0002060658; PA0002071726         Reservoir
Work It                  PA0001200073                       Wixen
World Is Yours, The      PA0000921809                       Universal
Worst Behavior           PA0001967813                       Warner Chappell
Worth It                 PA0001978467; PA0001961626         Kobalt; Warner Chappell
Would I Lie To You       PA0000593992                       BMG
X Gon Give It To Ya      PA0002031806                       Universal



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Title Of Work           Copyright Registration No.          Plaintiff(s)
Yayo                    PA0001909451                        Royalty Network
Yeah 3X                 PA0001750521                        Universal
Yeah!                   PA0001241917                        Reservoir
Yes Indeed              PA0002142540; PA0002167016          Ultra; Universal
Yo (Excuse Me Miss)     PA0001341618                        Hipgnosis
Yonaguni                PA0002328331                        Concord; Sony Music
                                                            Publishing
Yosemite                PA0002156385                        BMG; Sony Music
                                                            Publishing
You                     PA0002269022                        Universal
You & I                 PA0001913599                        Hipgnosis
You And I               PA0002245921                        Spirit
You And Me.             PA0001271822                        Wixen
You Are My Sunshine     EP0000083392; R00000403741;         Peer
                        EP0000194345; RE0000588529;
                        EP0000221782; RE0000676058;
                        EP0000171576; RE0000475144;
                        EP0000171583; RE0000475148
You Are Not Alone       PA0000789976                        Universal
You Are The One         PA0001167135                        Royalty Network
You Are The Reason      PA0002115244                        BMG
You Can Have The        PA0001856728                        Wixen
Crown
You Can't Always Get    EU0000099333                        ABKCO
What You Want
You Da One              PA0001778697                        Universal
You Don't Know How It   PA0000738963                        Wixen
Feels
You Don't Know My       PA0001158217                        Royalty Network
Name
You Get What You Give   PA0000925924                        BMG
You Got It              PA0002279599; PA0002268294          Concord
You Got It              PA0000424819                        Wixen
You Know You Like It    PA0002299855                        Universal
(Dj Snake
Version)
You Make Lovin Fun      EU0000713071; PA0001162955          Universal
You Make My Dreams      PA0000077329                        BMG
You Proof               PA0002384531                        Sony Music Publishing
You Raise Me Up         PA0001133116                        Peer



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Title Of Work             Copyright Registration No.          Plaintiff(s)
You Send Me               EU0000491316; RE0000233851          ABKCO
You Should See Me In A    PA0002173035                        Kobalt
Crown
You Spin Me Round         PA0000261485                        Royalty Network
You're A Jerk             PA0002088942                        Royalty Network
You're Nobody 'Til        R00000514197; EP0000130945;         Peer
Somebody Loves You        RE0000709287; EP0000233576;
                          RE0000758884; EP0000256637
You're On Your Own,       PA0002389634                        Sony Music Publishing
Kid
You're The Inspiration    PA0000213889; PAu000638574;         Peer; Universal
                          PAU000598698
Young, Wild & Free        PA0001818483; PA0001818483          Universal
Youngblood                PA0002193769; PA0002122817          Hipgnosis; Reservoir
Your Man                  PA0001163481                        Spirit
Your Shirt                PA0002090560                        Ultra
Yummy                     PA0002230613                        Peer; Universal
Zeze                      PA0002181471                        Reservoir
Zombie                    PA0002404809                        Warner Chappell




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